Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 1 of197


    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2
                              Case No. 11-80205-CR-MARRA
    3
         UNITED STATES OF AMERICA,    )
    4                                 )
              GOVERNMENT,             )
    5                                 )
              -v-                     )
    6                                 )
         MITCHELL J. STEIN,           )
    7                                 )
              DEFENDANT.              )        West Palm Beach, Florida
    8                                 )        May 9, 2013
         _____________________________)
    9

   10                   TRANSCRIPT OF TESTIMONY OF AJAY ANAND

   11                    TAKEN AT THE JURY TRIAL PROCEEDINGS

   12                   BEFORE THE HONORABLE KENNETH A. MARRA

   13                        UNITED STATES DISTRICT JUDGE

   14    Appearances:

   15    FOR THE GOVERNMENT              Albert Stieglitz, ESQ., AND
                                         Kevin B. Muhlendorf, ESQ.
   16                                    U.S. Department of Justice
                                         Criminal Division
   17                                    1400 New York Avenue, Northwest
                                         Washington, DC 20530
   18
         FOR THE DEFENDANT               Mitchell J. Stein, Pro Se
   19                                    1551 North Flagler Drive, #1208
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   20    -and-
                                         Charles G. White, ESQ.
   21                                    Charles G. White, P.A.
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Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 2 of297


    1    * * * * * * * * * *

    2               THE COURT:    Welcome back, ladies and gentlemen.

    3     Please be seated, everyone.

    4               All right.    Let's hear from the next witness for the

    5     United States.

    6               MR. MUHLENDORF:     Your Honor, the Government calls

    7     Ajay Anand.

    8               THE COURT:    Sir, would you raise your right hand,

    9     please.

   10                   Ajay Anand, Government witness, sworn.

   11               THE COURT:    Please be seated.

   12               Sir, if you could lean forward.       The chair doesn't

   13     move, so you have to lean forward or move the microphone

   14     towards you, and please speak into it and tell us your name

   15     and spell both your first and last names for us.

   16               THE WITNESS:    Ajay Anand.     It's spelled A-j-a-y

   17     A-n-a-n-d.

   18               THE COURT:    Thank you, sir.

   19               You may proceed.

   20                              Direct Examination

   21    BY MR. MUHLENDORF:

   22     Q   Good afternoon, Mr. Anand.

   23     A   Good afternoon.

   24     Q   Mr. Anand, where do you live?       What city and state?

   25     A   Irvine, California.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 3 of397


    1     Q   Now, Mr. Anand, do you have a background in investing?

    2     A   Yes, I do.

    3     Q   Okay.    And what's your educational background?

    4     A   I have a degree in economics from Cal Poly Pomona.

    5     Q   Now, if you could just tell the jury, briefly, a summary

    6     of what your sort of employment history, what you've been

    7     doing for the last 15 years is.

    8     A   Consulting with and investing in public companies.

    9                Investing in and consulting with various public

   10     companies.

   11     Q   Now, in the course of that investing in public companies,

   12     did you become familiar with an entity known as Signalife?

   13     A   Yes.

   14     Q   And did it have other names, Signalife?

   15     A   Yes.

   16     Q   Okay.    And if we call it -- if we call it Signalife,

   17     you'll recognize we're talking about Heart Tronics, Signalife,

   18     and Recom, the same company, right?

   19     A   Yes.

   20     Q   Now, how did you become familiar with the entity

   21     Signalife?

   22     A   I believe I was reintroduced to the company through a

   23     gentleman by the name of Raul Silvestre.

   24     Q   You say reintroduced or introduced?

   25     A   Introduced.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 4 of497


    1     Q   Now, did the introduction to the company by Mr. Silvestre

    2     eventually involve Mr. Stein?

    3     A   Yes, it did.

    4     Q   So you know the Defendant, Mitchell J. Stein?

    5     A   Yes, I do.

    6     Q   Now, and we're going to go into this in a little bit more

    7     detail, but did you do some work involving Signalife from

    8     2006, '7, in that timeframe?

    9     A   Yes, I did.

   10     Q   In relation to your dealings with the Defendant and

   11     Signalife, were you ever contacted by officials from the

   12     Securities and Exchange Commission?

   13     A   Yes, I was.

   14     Q   And what was the first contact you had with the Securities

   15     and Exchange Commission?

   16     A   Securities and Exchange Commission called my home office

   17     looking for Sameer Gulati.

   18     Q   Who is Sameer Gulati?      If you could spell that, too, for

   19     the court reporter.

   20     A   Spelled S-a-m-e-e-r G-u-l-a-t-i.

   21     Q   Who is Mr. Gulati?

   22     A   Mr. Gulati was a name I put on the entity known as the

   23     Silve Group.

   24     Q   Let's take a step back.      What is the Silve Group?

   25     A   Silve Group is a corporation I established to do work for
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 5 of597


    1     Signalife.

    2     Q   So when the Securities and Exchange Commission called, who

    3     were they looking to talk to?

    4     A   Sameer Gulati.

    5     Q   Did you return their phone call?

    6     A   Yes, I did.

    7     Q   And who did you tell the SEC you were when you returned

    8     the phone call?

    9     A   I told him I was Sameer Gulati.

   10     Q   You lied?

   11     A   Yes, I did.

   12     Q   And ultimately, after speaking with the Securities and

   13     Exchange Commission, did you testify under oath to the SEC?

   14     A   Yes, I did.

   15     Q   And where did that happen?

   16     A   In Los Angeles, California.

   17     Q   Now, when you testified to the SEC did you tell the truth?

   18     A   No.

   19     Q   Did you lie to the SEC?

   20     A   Yes, I did.

   21     Q   Did you lie about one thing or many things?

   22     A   Many things.

   23     Q   Did anyone ask you to lie?

   24     A   No.

   25     Q   Now, the things you lied about, were they things related
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 6 of697


    1     to Signalife?

    2     A   Yes.

    3     Q   As a result of those lies to the Securities and Exchange

    4     Commission, did you plead guilty to any crimes?

    5     A   Yes, I did.

    6     Q   What did you plead guilty to?

    7     A   Obstruction of justice.

    8     Q   And did you enter into a plea agreement in relation to

    9     that crime?

   10     A   Yes, I did.

   11     Q   Do you have an understanding of -- well, first, why did

   12     you plead guilty to the crime of obstruction of justice?

   13     A   Because I lied to the SEC during my testimony.

   14     Q   Now, are you familiar with the terms of your plea

   15     agreement?

   16     A   Yes, I am.

   17     Q   What sort of penalty are you facing for lying to the SEC?

   18     A   Five years' imprisonment and a fine of $250,000.

   19     Q   Now, under the terms of your plea agreement, do you have

   20     any obligations?

   21     A   Yes.

   22     Q   What are the obligations you have?

   23     A   Tell the truth.

   24     Q   Do you have to cooperate?

   25     A   Yes.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 7 of797


    1     Q   What happens if you don't tell the truth?

    2     A   I could be added additional charges.

    3     Q   Okay.   What happens to your plea agreement?

    4     A   It's thrown out.

    5     Q   Could you be charged with perjury or obstruction of

    6     justice under the terms of your plea agreement?

    7     A   Yes.

    8     Q   Now, candidly, Mr. Anand, by testifying here today, are

    9     you hoping for anything?      Are you looking for a benefit?

   10     A   Yes.

   11     Q   What benefit are you hoping to get?

   12     A   The cooperation credits I needed to reduce --

   13     Q   Speak up, please.

   14     A   The cooperation credits to reduce my sentence.

   15     Q   Now, are those based in any way on the -- what you say

   16     here today?

   17     A   No.

   18     Q   Now, who's going to ultimately decide your sentence?

   19     A   The judge in Los Angeles.

   20     Q   Not Judge Marra?

   21     A   No.

   22     Q   Is the Government going to decide your sentence?

   23     A   No.

   24     Q   Now, Mr. Anand, you've had some tax issues, as well,

   25     correct?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 8 of897


    1     A   Yes.

    2     Q   Did you fail to pay your taxes?

    3     A   Yes, but I've submitted all the documents, and they're

    4     ready to be admitted now.

    5     Q   Okay.    And one last topic before we get into the

    6     substance.

    7                During the course of your dealings with Mr.~Stein and

    8     Signalife, did you make some recordings of Mr. Stein?

    9     A   Yes, I did.

   10     Q   And what types of recordings did you make?

   11     A   Mainly conference calls we were on.

   12     Q   Were there any voice-mail messages you recorded?

   13     A   And some voice-mail messages, yes.

   14     Q   Now, why did you record Mr.~Stein?

   15     A   Well, the main purpose was Mr.~Stein was very good at

   16     speaking about the company and its technology.         And so when I

   17     wanted to speak to my potential investors or people that I was

   18     trying to engage in the company, I was able to refer back to

   19     those tapes and speak more intelligently about the company.

   20     Q   Did you -- did anyone ask you to make those recordings?

   21     A   No.

   22     Q   Did you tell the SEC about those tapes?

   23     A   No.

   24     Q   As to the recordings of Mr. Stein, at the time did you

   25     have an understanding of whether you violated the law in doing
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 9 of997


    1     that?

    2     A   No.

    3     Q   Do you now?

    4     A   Yes.

    5     Q   What's that understanding?

    6     A   It's illegal to tape-record somebody.

    7     Q   All right.    Well, let's talk a little bit about how we got

    8     here.    How did you first meet the Defendant, Mitchell J.

    9     Stein?

   10     A   I met him in 1999 through a company called Medtech.

   11     Q   And what sort of business were you doing with Medtech and

   12     Mr.~Stein?

   13     A   Mr.~Stein had met with me and asked him (sic) to assist

   14     him and the company in obtaining an American Stock Exchange

   15     listing for the company in 1999.

   16     Q   Did that company eventually become E-Medsoft?

   17     A   Yes.

   18     Q   Now, did you make money working on E-Medsoft with

   19     Mr.~Stein?

   20     A   Yes, I did.

   21     Q   Approximately how much did you make?

   22     A   Pretty close to a million dollars.

   23     Q   After E-Medsoft -- how long did that relation last?

   24     A   That lasted from 1999 to approximately 2001.

   25     Q   So -- and just to be clear, we're sitting here in 2013.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 1010
                                                                              of 97


    1     So you've known Mr.~Stein a long time, right?

    2     A    Yes.

    3     Q    So -- and I think when we first started, you were talking

    4     about how you got connected with Signalife, you mentioned

    5     someone by the name of Raul Silvestre, correct?

    6     A    Correct.

    7     Q    Who is Raul Silvestre?

    8     A    At the time he was general counsel to the company Recom.

    9     The name of the company was Recom at the time.

   10     Q    And did Mr. Silvestre somehow connect you with Mr.~Stein?

   11     A    Yes, he did.

   12     Q    And why was that?

   13     A    Originally, it was to buy stock into the market, and then

   14     subsequent to that was an investment into Recom.

   15     Q    Did you have a meeting with Mr.~Stein?

   16     A    Yes, I did.

   17     Q    Do you remember where that was?

   18     A    Yes, I do.

   19     Q    Where was that?

   20     A    That was at King's Fish House, in Calabasas.

   21     Q    Did you invest in Recom at the time?

   22     A    Yes, I did.

   23     Q    How much did you invest?

   24     A    I invested $50,000.

   25     Q    Now, when you -- was this a reconnection of sorts with
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 1111
                                                                              of 97


    1     Mr.~Stein?

    2     A    Yes, it was.

    3     Q    When that reconnection happened, did Mr.~Stein tell you

    4     anything about your affiliation with Signalife going forward?

    5     A    Yes.

    6     Q    What did he tell you?

    7     A    Well, the prior deal that we were involved in, E-Medsoft

    8     or Med Diversified, as it was known, became a company that was

    9     investigated, and people got in trouble because of that

   10     company, and Mr.~Stein made it clear that he didn't want my

   11     name associated with anything going forward on the new deal,

   12     Recom or Signalife.

   13     Q    So as a result of that, was the public face of -- the

   14     public face of Ajay Anand -- was Ajay Anand available to the

   15     public as a connection to Silve Group?

   16     A    No.

   17     Q    How did you accomplish that?

   18     A    Mr.~Stein made it clear that my name shouldn't be involved

   19     in any transactions that had to do with the public exposure of

   20     Signalife.

   21     Q    And to be fair, you signed contracts in your own name with

   22     the officers of Signalife, correct?

   23     A    Yes.

   24     Q    Okay.   So it wasn't hidden from Signalife itself, right?

   25     A    No.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 1212
                                                                              of 97


    1     Q    Now, moving forward a little bit, do you know the name Ken

    2     Londoner?

    3     A    Yes, I do.

    4     Q    Who's Ken Londoner?

    5     A    Ken Londoner was a hedge fund manager and investor both in

    6     Med and Recom.

    7     Q    Did he have some association with Signalife?

    8     A    Yes, he did.

    9     Q    How does that relate to you?

   10     A    Well, Ken was involved in Recom.       He and I had spoke a

   11     number of times involving the company.         He put me on

   12     conference calls with some of the institutions.          I put him on

   13     conference calls with some of my investors in an effort to

   14     gain exposure for the company and also possibly invest in the

   15     company.

   16     Q    Did you attend any meetings where Mr.~Stein was present

   17     with Mr. Londoner?

   18     A    Yes.

   19     Q    Would you tell the jury about that.

   20     A    I believe there was two meetings.       There was one meeting

   21     in Greenville with Pamela Bunes, myself and Mr. Stein, and

   22     there was a second meeting in New York right after that with

   23     myself, Mr.~Stein and Mr. Londoner.

   24     Q    And at the meeting with New York, was Mr.~Stein the only

   25     Signalife representative?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 1313
                                                                              of 97


    1     A    Yes.

    2     Q    And what was the point of the meeting in New York?

    3     A    To attract investors into the company.

    4     Q    So there were no other CEOs or anything like that?

    5     A    No.

    6     Q    At that time, what did you understand Mr. Stein's role to

    7     be with Signalife?

    8     A    He told me he was general counsel and the largest

    9     shareholder of Signalife.

   10     Q    Now, let's talk about the meeting with Pam Bunes.          You

   11     mentioned a meeting with Pam Bunes?

   12     A    Yes.

   13     Q    What was the nature of that meeting, and who was there?

   14                 MR. STEIN:   Objection as to time.     Just, what year?

   15    BY MR. MUHLENDORF:

   16     Q    When was the meeting with Pam Bunes?

   17     A    2004.

   18     Q    Okay.   And what was the nature of that meeting?

   19     A    The nature of the meeting was that the old CEO, Marvin

   20     Fink, was terminated, and Ms. Bunes was going to replace him

   21     as the new CEO of Recom.

   22     Q    Do you have an understanding of how Mr. Fink was

   23     terminated?

   24     A    Yes.

   25     Q    What happened to Mr. Fink?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 1414
                                                                              of 97


    1     A    There was a fight between Mr.~Stein and Mr. Fink.

    2     Q    And as a result of that fight, what happened to the CEO,

    3     Marvin Fink?

    4     A    He was terminated.

    5     Q    Okay.

    6     A    There was a lawsuit occurred after that also, something.

    7     Q    I think you're going to have to speak up.

    8     A    There was a lawsuit that occurred right after that or at

    9     the same time.

   10     Q    So this meeting in 2004 we were just talking about with

   11     Ms. Bunes, Mr.~Stein was there?

   12     A    Yes.

   13     Q    What was the purpose of that meeting?

   14     A    To hire Ms. Bunes on as CEO of Recom.

   15     Q    And why were you involved in that?

   16     A    He asked me to go.

   17     Q    Now, let's move to the summer of 2005.

   18                 Do you know who Rajiv Singh is?

   19     A    Yes.

   20     Q    Now, were you contacted by Mr. Stein about a meeting with

   21     Rajiv Singh?

   22     A    Yes.

   23     Q    And what was the point?      Why did he want you to meet with

   24     Rajiv Singh?

   25     A    Mr. Singh was an engineer that was hired by Recom.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 1515
                                                                              of 97


    1     Mr. Stein suggested that I meet with him and discuss with him

    2     a number of things revolving around the technology and

    3     possibly selling the Recom's product to India.

    4                MR. MUHLENDORF:    Your Honor, at this time we've got

    5     some agreed upon exhibits I'd like to move into evidence.

    6                THE COURT:    All right.

    7                MR. MUHLENDORF:    228, 312, 26, 33, 313, 43, 307, 310,

    8     53, 52, 49, 50, 59, 342, 61, and 94.

    9                THE COURT:    Any objection to those, Mr.~Stein?

   10                MR. STEIN:    No objection.

   11                THE COURT:    They'll all be admitted without

   12     objection.

   13          (Government Exhibits Nos. 228, 312, 26, 33, 313, 43, 307,

   14     310, 53, 52, 49, 50, 59, 342, 61, and 94 entered into

   15     evidence.)

   16    BY MR. MUHLENDORF:

   17     Q    And Mr. Anand, I've been advised we really need to try and

   18     speak into the microphone.       I think both of us are being very

   19     quiet, and I think the jurors are having a hard time hearing

   20     you.

   21                THE WITNESS:    Is that better?

   22                THE COURT:    Pull it towards you, sir, so you don't

   23     have to lean forward so much.       Thank you.

   24                THE WITNESS:    Okay.

   25                MR. MUHLENDORF:    Now, if we could have exhibit 312,
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 1616
                                                                              of 97


    1     please.

    2                THE COURT:    Does he have the hard copies there?

    3                MR. MUHLENDORF:    He does.

    4                Mr. Anand, there should be a notebook up there that

    5     has the hard copies for you.

    6                THE WITNESS:    We're looking at 312?

    7                MR. MUHLENDORF:    Your Honor, may I approach?       I

    8     understand the jurors are having some problems with viewing

    9     him through the screen.      Is that . . .

   10                THE COURT:    I thought it was okay.

   11    BY MR. MUHLENDORF:

   12     Q    All right.    Mr. Anand, do you see exhibit 312 in front of

   13     you?

   14     A    Yes, I do.

   15     Q    Okay.   Now, what is exhibit 312?

   16     A    It's an e-mail from Mitchell Stein to myself.         Subject is

   17     confidential draft, dated March 9th, 2006, attached file is

   18     option allowance Indian monitoring doc.

   19     Q    So what is Mr.~Stein telling you on March 9, 2006?          What

   20     does this relate to?

   21     A    This is an option allowance to potentially fund our

   22     prospectively selling the device in India.

   23     Q    And what is he saying here?       It says:   "Ajay, I am here,"

   24     and if you could read this portion.

   25     A    "Attached hereto is the option certificate Signalife has
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 1717
                                                                              of 97


    1     been working on relative to the prospective agreement on the

    2     Indian initiative we discussed.        It contains the million

    3     shares of options shares, as we discussed.         A lot of thought

    4     has been put into this document and why it is the perfect fit

    5     for concerned.     So we shall (sic) discuss in detail."

    6     Q    What shares was Mr.~Stein talking about in that e-mail?

    7     Is it shares of Signalife?

    8     A    Yes, shares of Signalife.

    9     Q    And what was -- why were you getting this option for a

   10     million shares of Signalife?       What was the point?

   11     A    The point was to have this option in the event that we

   12     sold units to Mexico -- excuse me, to India.

   13     Q    And when we say units, units of what?

   14     A    Units of the Fidelity 100.

   15     Q    What is the Fidelity 100?

   16     A    The Fidelity 100 is a product that Recom developed to

   17     monitor patients' ECG waves.

   18     Q    In this e-mail, it's between who and who?

   19     A    Mitchell Stein and myself.

   20     Q    So who was the sort of contact person between you and

   21     Signalife relating to this contract?

   22     A    Mitchell Stein.

   23     Q    Now, Ms. Bunes knew about it, correct?

   24     A    I don't know if she knew about it.

   25     Q    Now, did you perform some services under the terms of the
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 1818
                                                                              of 97


    1     agreement this refers to?

    2     A    Yes.

    3     Q    Okay.   And what sort of services did you perform?

    4     A    Myself and Mr. Singh reached out to a number of

    5     prospective people in India to possibly make some inroads into

    6     selling the device there.       We had a meeting with Dr.~Harmison

    7     also in DC at the same time and introduced him to one of those

    8     prospective people in India.

    9     Q    Did you get paid any money under the terms of the Indian

   10     sales initiative?

   11     A    From this exhibit?

   12     Q    Or in general.

   13     A    Yes.

   14     Q    Okay.   Tell the jury about that.

   15     A    We received shares of stock in Signalife.

   16     Q    And how many -- how much did you make in this period of

   17     time working with Signalife?

   18     A    We received approximately a million shares, a million-plus

   19     shares of Signalife.

   20     Q    Did -- how would you -- how was it that you and Mr. Singh

   21     cashed in on those shares?       Who got the shares?

   22     A    At the time I was working with Mr. Singh, Mr. Singh had an

   23     agreement with the company through one of his entities called

   24     Garu Technologies.     Garu Technologies was paid in stock.

   25     Mr. Singh deposited that stock and gave me the proceeds and
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 1919
                                                                              of 97


    1     kept some of the proceeds for himself.

    2     Q    And how long did that go on for?

    3     A    I believe that went on for about seven or eight months.

    4     Q    And how much did you make under that arrangement?

    5     A    I believe the total was somewhere around 70 or $80,000.

    6     Q    Now, I think you said -- were you paid in cash or stock

    7     initially?

    8     A    We were paid in stock.

    9     Q    So what was the understanding about how you would convert

   10     that into cash?

   11     A    Mr. Singh would have received the shares, deposit the

   12     shares in one of his accounts, sell the shares, and send some

   13     of the proceeds to himself and some of them to me.

   14     Q    Okay.   Was Mr.~Stein aware that the idea was to sell the

   15     shares?

   16     A    Yes.

   17     Q    Did Mr. Singh -- how long was Mr. Singh involved with you

   18     and Signalife?

   19     A    The initial meeting we had with Mr. Singh, which included

   20     Mr.~Stein and Ms. Bunes, was I believe in July of 2005, and

   21     that relationship I think ended in early 2006, if I'm not

   22     wrong.

   23     Q    Now, sometime in 2006, late 2005, were there any meetings

   24     in New York with Mr.~Stein?

   25     A    Yes.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 2020
                                                                              of 97


    1     Q    Okay.   Tell the jury about that.

    2     A    There was one series of meetings in New York in which

    3     myself, Mr.~Stein, and Ms. Bunes attended.         I don't remember

    4     the exact date.

    5     Q    Okay.   What was the point of the meeting?

    6     A    The point of the meeting was to attract investors into --

    7     to invest into Recom at the time.

    8     Q    Okay.   And who attended the meetings, of the three of you?

    9     A    Well, I attend -- I went to New York, met Ms. Bunes and

   10     Mr.~Stein, but the original meetings were attended by

   11     Mr.~Stein and Ms. Bunes.

   12     Q    And, again, what was Mr.~Stein's role as you understood it

   13     at that time?

   14     A    I understood it as he was the general counsel and the

   15     largest investor in Recom.

   16     Q    Now, did you receive any compensation -- well, when you

   17     went to New York on this trip, why were you there, if you

   18     didn't go to the meetings?

   19     A    I was asked to set up a few meetings to attract potential

   20     investors into the company.

   21     Q    Okay.   Did you have contacts in New York?

   22     A    Yes.

   23     Q    Ultimately, were you compensated by Signalife for your

   24     work in setting up these meetings?

   25     A    Yes.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 2121
                                                                              of 97


    1     Q    Okay.    And how were you compensated?

    2     A    I was given an option for 50,000 shares of restricted

    3     stock in Signalife under an entity I designated as Knights

    4     Bridge, GP.

    5     Q    If you could look at exhibit 26 in your notebook.

    6                 This exhibit 26 is entitled, Business Consulting

    7     Agreement.     Is this the document you're talking about?

    8     A    Yes.

    9     Q    And it says Knights Bridge GP there as the consultant.

   10     Who is that?

   11     A    That's me.

   12     Q    And why, again, did you use Knights Bridge?         Why not just

   13     Ajay Anand?

   14     A    Mr.~Stein asked me to set up an entity, and Knights Bridge

   15     was the entity that I set up.

   16     Q    Why did he want you to do that instead of using your own

   17     name?

   18     A    Because he wanted to keep my name off of any public

   19     disclosure documents.

   20     Q    Now, did there come a time, this is April of 2006, in the

   21     spring or summer of 2006, when you purchased some shares of

   22     Signalife in a private sale?

   23     A    Yes.

   24     Q    Can you tell the jury about that?

   25     A    Yes.    Sometime in 2006, I was working for the company
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 2222
                                                                              of 97


    1     still, still was talking to investors, still trying to make

    2     some inroads into India, but I wasn't getting compensated in

    3     anything that was cash related.        I approached Mr. Stein and

    4     said, is there a way that I can get some stock for some of

    5     these services, and he said that there's no stock available.

    6                I asked him if I could buy a block of stock from him

    7     or Tracey, and he said, no, originally because Tracey felt the

    8     stock was going to a hundred dollars, and she wasn't willing

    9     to sell any.

   10                I asked him, again, is there a possibility where I

   11     can buy a block of a hundred thousand shares for a price of

   12     two dollars; and a couple days after our original phone call,

   13     he called me back and said, yes.

   14                After that, I received via DHL, a package in the mail

   15     from Mr. Nevdahl with a medallion guaranteed stock power, a

   16     broker's rep letter, a share certificate for a hundred

   17     thousand shares with instructions for me to send those shares

   18     to the transfer agent and have them converted into one of my

   19     entities.

   20     Q    And what entity did you use?

   21     A    I used an entity called Ashton Reed.

   22                MR. MUHLENDORF:    Now, if we could have exhibit 30,

   23     please.

   24    BY MR. MUHLENDORF:

   25     Q    Exhibit 30 is not a document that I think you were on, but
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 2323
                                                                              of 97


    1     this May 23rd, 2006, transfer, is that the same Ashton Reed

    2     we're talking about?

    3     A    Yes.

    4     Q    And is this the private sale that you understood you

    5     undertook with Mr.~Stein?

    6     A    Yes.

    7     Q    Where did these shares come from?

    8     A    They came from ARC Finance, or THS Blind Trust.

    9     Q    Now, did you ultimately pay Mr.~Stein for these shares?

   10     A    Yes, I did.

   11     Q    And how did you pay Mr.~Stein for the shares?

   12     A    I sold the shares, and at the time where I sold the shares

   13     it was under the two-dollar price that we had negotiated.            I

   14     asked him if he can reduce the price.        After a number of

   15     discussions, he finally agreed and reduced the price to, I

   16     believe, $1.75 for a hundred thousand shares, which is

   17     approximately $175,000.

   18     Q    Did you send the money back to Mr. Nevdahl, or did you

   19     send it somewhere else?

   20     A    I sent it to the instructions, the THS Blind Trust

   21     instructions that I was given.

   22     Q    Who gave you those instructions?

   23     A    I believe it was Mr. Nevdahl or Mr. Wilk.

   24     Q    Let's look at exhibit 33.

   25                 What is exhibit 33, Mr. Anand?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 2424
                                                                              of 97


    1     A    This is a letter of instruction from myself to UBS dated

    2     June 20th, 2006, with instructions to wire a hundred thousand

    3     dollars from Ashton Reed to THS Blind trust, executed by me.

    4     Q    Now, that money that you were wiring to THS Blind Trust,

    5     what was the source of that money?

    6     A    The sale of the stock that I had purchased.

    7     Q    And if we flip through the pages of exhibit 33, go to

    8     page 2, is there another wire to THS Blind Trust?

    9     A    Yes.

   10     Q    And page 3?

   11     A    Yes.

   12     Q    How much are we talking about there?

   13     A    Pages two and three represent $75,000 each.

   14     Q    And if we were to run through the whole of exhibit 33 and

   15     the wires related to those private sales, do you have an

   16     understanding of how much you wired to the THS Blind Trust?

   17     A    Yes.

   18     Q    How much was that?

   19     A    I believe it was approximately $380,000.

   20     Q    And the source of all that was Signalife sales?

   21     A    Yes.

   22     Q    Now, if we look at the last page of exhibit 33, page --

   23     okay.   What's the date of the last transaction?

   24     A    October 12th, 2006.

   25     Q    Now, subsequent to this transaction with Mr.~Stein's
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 2525
                                                                              of 97


    1     shares and the THS Blind Trust, were you involved in -- did

    2     you become involved with working for Signalife again?

    3     A    Yes.

    4     Q    How -- when was that next sort of interaction, roughly?

    5     A    The next interaction was in January of 2007.

    6     Q    And who did you interact with regarding Signalife in

    7     January of 2007?

    8     A    Mr.~Stein.

    9     Q    Was there a meeting that was arranged?

   10     A    Yes, in early January 2007, Mr.~Stein called me and asked

   11     me to meet him in Florida.       I flew to Florida, met with him,

   12     and he introduced me to a gentleman by the name of Demetrio

   13     Sodi.   We had a meeting at the Weston Diplomat in Hollywood,

   14     Florida.

   15     Q    Did you attend this meeting?

   16     A    Yes.

   17     Q    And who was at the meeting?

   18     A    At the meeting was myself, Mr. Stein, and Mr. Sodi.

   19     Q    Let me show you exhibit 313.

   20                 What is exhibit 313?

   21     A    It's an e-mail from Mitchell J. Stein to Pamela Bunes

   22     dated January 20th, 2007.       Subject is regarding Miami.      The

   23     e-mail reads:     "Pam, I've got to get ahold of Ajay to

   24     determine whether he can be there.        I will know late today.

   25     Please notify Demetrio."
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 2626
                                                                              of 97


    1     Q    Is this relating to the meeting that we're just talking

    2     about?

    3     A    Yes.

    4     Q    And, again, who was the one who arranged your presence at

    5     the meeting with Demetrio Sodi?

    6     A    Mr.~Stein.

    7     Q    Now, did anything come out of the meeting regarding

    8     Mr. Sodi and yourself and Signalife?

    9     A    Yes.

   10     Q    Please explain that to the jury.

   11     A    At the meeting, Mr. Stein introduced me to Mr. Sodi.          He

   12     told me that Mr. Sodi had been working for Signalife for a

   13     number of years and not being -- not have been compensated.

   14     He indicated that Mr. Sodi had a number of leads that would

   15     potentially buy the product in Mexico and suggested I engage

   16     Mr. Sodi under a agreement that we had with Silve Group.

   17     Q    The Silve Group, what is the Silve Group?         We've mentioned

   18     it earlier.

   19     A    The Silve Group is an entity that I was asked to establish

   20     to potentially make sales in India of the Fidelity 100 device.

   21     Q    Who came up with the name the Silve Group?

   22     A    I believe Mr.~Stein came up with the name.

   23     Q    Do you have any idea what it stands for?

   24     A    I have no idea.

   25     Q    But that -- whose entity did the Silve Group become?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 2727
                                                                              of 97


    1     A    It became my entity.

    2     Q    And when you operated with Mr. Sodi under the Silve Group,

    3     why didn't you just operate as Ajay Anand?

    4     A    Well, from the beginning of my relationship with

    5     Signalife, Recom, Heart Tronics, Mr.~Stein made it clear that

    6     he didn't want my name, because of our past dealings, to be in

    7     the public spotlight of the new deal, the Signalife project.

    8     Q    Let's look at exhibit 43.

    9                 Now, exhibit 43, Mr. Anand, is -- what is exhibit 43?

   10     A    It's an international sales representation agreement

   11     between the Silve Group and Signalife.

   12     Q    And is this the agreement we were just discussing?

   13     A    Yes.

   14     Q    If we could look at page 15 of that agreement.

   15     A    Okay.

   16     Q    Now, the signature line for the Silve Group, who signed

   17     that document?

   18     A    I did.

   19     Q    Whose name did you use?

   20     A    I used Sameer Gulati.

   21     Q    Why did you use the name Sameer Gulati?

   22     A    Because Mr.~Stein constantly emphasized to me that he

   23     didn't want my name associated with any public documents with

   24     my relationship with Signalife.

   25     Q    Now, under this agreement, the Silve Group agreement with
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 2828
                                                                              of 97


    1     Signalife, did Silve Group receive shares of Signalife?

    2     A    Yes, we did.

    3     Q    How many shares over the course of the relationship did

    4     you receive?

    5     A    I believe we received about a million, a million and a

    6     half shares.     Some of them were returned and canceled, but

    7     approximately a million shares.

    8     Q    Could it have been closer to 2 million?

    9     A    Possibly.

   10     Q    And what did you do with the shares you received from

   11     Signalife once you deposited them in the Silve Group or a

   12     brokerage account?

   13     A    I sold them.

   14     Q    Was Mr.~Stein aware you were selling during that time

   15     period?

   16     A    Yes.

   17     Q    Now, regarding the operations of the Silve Group, Mr. Sodi

   18     and yourself, were there ever any directions from Mr.~Stein

   19     regarding talking to CEOs, whether you or Mr. Sodi were

   20     supposed to talk to the CEOs?

   21     A    Well, he emphasized to both of us that we should talk to

   22     him but not talk to Pam.      Pamela was the CEO at the time.

   23     Q    Was that Pam Bunes?

   24     A    Yes.

   25     Q    Let's look at exhibit 307.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 2929
                                                                              of 97


    1                 And I apologize for the microscopic print here.          I'll

    2     do my best to blow this up.

    3                 Can you read that, Mr. Anand?

    4     A    Yes.    It's an e-mail from Mitchell Stein to Pamela Bunes

    5     regarding commercialization dated February 3rd, 2007.           It

    6     states:

    7                 "Pam, Demetrio is looking for no contract whatsoever

    8     from Signalife.     Stop talking to him.     Ajay and him arranged a

    9     deal, and he is already getting paid.        I will get ahold of

   10     Ajay to talk to Demetrio and straighten him out.          He gets

   11     confused sometimes.      The contract does not need to come from

   12     Signalife in view of your contractual agreement with Silve.

   13     This is not the structure we spoke of, so please do not allow

   14     Demetrio's confusion to turn into your confusion.

   15                 Thank you, Mitch."

   16     Q    Now, just so the jury understands, was this sort of

   17     direction from Mr.~Stein typical of the arrangement you had?

   18     A    Yes.

   19     Q    And in this e-mail, does Mr.~Stein appear to be directing

   20     the CEO to do one thing or another?

   21     A    Yes.

   22     Q    What is he directing the CEO not to do?

   23     A    To not talk to Demetrio.

   24     Q    Let's look at exhibit 310.      And, again, I apologize for

   25     the size of this.     This is the way we got these.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 3030
                                                                              of 97


    1                 Now, this is an e-mail.     If you could just explain to

    2     who it's to and from and the date.

    3     A    It's from Mitchell J. Stein to Demetrio Sodi, CC Dobieco,

    4     nothing in the subject line.       Dated February 21st, 2007.

    5                 It reads:   "Demetrio, do not get Pam's signature on

    6     this letter.    That is my job.     You just get Siemens and

    7     yourself to sign it.      I will then get Pam to do so.       Do not

    8     interact with Pam.      I cannot stress this enough, and I cannot

    9     say it enough, Mitch."

   10     Q    Now, again, was this typical of your dealings with

   11     Signalife in who was giving the Silve Group the commands?

   12     A    Yes, I spoke to Mr. Stein five, six, seven times a day.           I

   13     spoke to Ms. Bunes probably once or twice a week.

   14     Q    Is there any doubt in your mind who was controlling the

   15     Silve Group relationship from the Signalife point of view?

   16     A    No.

   17     Q    Who was that?

   18     A    It's Mr.~Stein.

   19     Q    Do you recall a time when Mr.~Stein asked you to obtain a

   20     signature from the Silve Group, asked you for a signature?

   21     A    Yes.

   22     Q    Let's look at exhibit 53.

   23                 What is exhibit 53?

   24     A    It's an e-mail from Mitchell J. Stein to Ajay Anand, but

   25     there's no subject in the subject line.         It's dated May 7th,
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 3131
                                                                              of 97


    1     2007.    It's got an attachment, Silve Group sales rep agreement

    2     doc.    And the context of the e-mail says:       "Please sign

    3     signature page and scan it to me, thanks."

    4     Q    Do you have an understanding why Mr. Stein didn't e-mail

    5     Mr. Gulati to get a signature on a Silve Group agreement?

    6     A    Yeah, I was Mr. Gulati.      I was doing all the work.

    7     Q    And Mr. Stein knew that?

    8     A    Yes.

    9     Q    So let's look at exhibit 52, and please tell the jury what

   10     exhibit 52 is.

   11     A    It's an e-mail from Mitchell J. Stein to John Woodbury

   12     dated Monday, May 7th, 2007.

   13     Q    And Mr. Anand, who is Mr. Woodbury?

   14     A    Mr. Woodbury was general counsel for Signalife.

   15     Q    And so, what does Mr.~Stein send Mr. Woodbury?

   16     A    SG scan Silve one dot JPG.

   17     Q    Is this just after the exhibit we just looked at,

   18     exhibit 53?    Just, how many hours?

   19     A    Approximately eight hours after.

   20     Q    And what does Mr.~Stein tell Mr. Woodbury?

   21     A    "Here is Sameer's signature for Silve Group.         Thanks,

   22     Mitch."

   23     Q    Now, again, did Mr.~Stein know that Sameer Gulati was not

   24     really the one behind Silve Group?

   25     A    Yes.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 3232
                                                                              of 97


    1     Q    Now, have you become aware that Mr.~Stein testified under

    2     oath to the SEC in relation to Signalife?

    3     A    Yes.

    4                 MR. MUHLENDORF:   Let's play -- we're going to play

    5     from December 18th, 2009, lines -- page 344, line 8, to

    6     page 345, line 7.     And that's clip 14.

    7                 (Audio played.)

    8                 MR. MUHLENDORF:   If we could have exhibit 53 back up,

    9     please.

   10    BY MR. MUHLENDORF:

   11     Q    Now, Mr. Anand, we just looked at this e-mail from

   12     Mr.~Stein to you, Mr. Anand, regarding the Silve Group.           Is

   13     what Mr.~Stein testified to to the SEC, is that truthful?

   14     A    No.

   15     Q    Was he well aware who the Silve Group was?

   16     A    Yes.

   17     Q    Was he well aware who Ajay Anand was?

   18     A    Yes.

   19     Q    Who was the main contact for the Silve Group to Signalife?

   20     A    I was.

   21     Q    And who was Signalife's contact?

   22     A    Mitch Stein.

   23     Q    If we could have exhibit 49, please.

   24                 Mr. Anand, what is exhibit 49?

   25     A    Mr.~Stein called me sometime in 2007 and asked me to put
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 3333
                                                                              of 97


    1     together an invoice or an accounting of what shares we had

    2     received -- we meaning the Silve Group -- had received in

    3     connection with the international sales initiative for

    4     Signalife, and I put this together as an accounting for the

    5     shares we had received.

    6     Q    Again, if you could speak up, please, I think we're losing

    7     you a little bit.     That's fine for now.

    8                 So this appears to indicate from January 18th, 2007,

    9     until March 20th, 2007, that Signalife issued the Silve Group

   10     over a million shares.      Is that accurate?

   11     A    Yes.

   12     Q    Now, was Mr.~Stein aware that Silve Group was getting

   13     these shares?

   14     A    Yes.

   15     Q    Could you explain to the jury the mechanics of how you got

   16     each one of these share issuances?        And I just want to draw

   17     your attention to the first three, which appear to be about

   18     three weeks apart.     How many do you get in the span of three

   19     weeks, roughly?

   20     A    Roughly, 325,000.

   21     Q    Okay.    Now, how did you get those shares?       What's the

   22     mechanics as you understood it?

   23     A    I would speak to Mr.Stein daily a number of times, and

   24     sometimes developments would occur between myself or Mr. Sodi,

   25     and I would express those developments to Mr.~Stein, and the
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 3434
                                                                              of 97


    1     next day we would receive shares.        He would have someone issue

    2     the shares and send them to us.

    3     Q    Did he ever tell you who he was going to call at

    4     Signalife?

    5     A    Yes.

    6     Q    Who would he say he would call to get the shares issued?

    7     A    There was a lady by the name of Tracy, I believe.

    8     Q    Now, to be fair, Mr. Anand, this shows that in three

    9     months you got approximately a million shares of Signalife,

   10     correct?

   11     A    That's correct.

   12     Q    During that time period, did you sell any products?

   13     A    Sold one unit in Mexico.

   14     Q    And during the course of your whole relationship, how much

   15     did you sell?

   16     A    One unit.

   17     Q    Well, while these share issuances are going on, and I

   18     think you said it was, you believed could have been up to

   19     2 million shares, did Mr.~Stein ever ask you for anything?

   20     A    Yes, he did.

   21     Q    What did he ask you for?

   22     A    He asked me to take care of him, pay him in cash, or, you

   23     know, make transfers or checks, things of that nature.

   24     Q    Well, you say take care of him.       Were those his words?

   25     A    Yes.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 3535
                                                                              of 97


    1     Q    What did you understand him to mean when he said you had

    2     to take care of him?

    3     A    Pay him.

    4     Q    Why would that be taking care of him?        Why did you have to

    5     do that?

    6     A    Well, Silve Group got a very lucrative deal from

    7     Signalife.     It came through Mr.~Stein, and we made a lot of

    8     money on the deal, and he specifically said that you need to

    9     take care of me.

   10     Q    Now, I think you mentioned some methods that you paid him.

   11     Did you pay him with bank transfers?

   12     A    Yes.

   13     Q    Did you pay him with checks?

   14     A    Yes.

   15     Q    Did you also pay him some cash?

   16     A    Yes.

   17     Q    Let's look at a few of those.       If we could see exhibit 50

   18     in your notebook, please.       And we're going to look at the

   19     second page of that exhibit.

   20                 Now, first, Mr. Anand, what is exhibit 50 that we're

   21     looking at?

   22     A    This is a bank statement for The Silve Group dated

   23     February 22nd through March 22nd, 2007.

   24     Q    And if I could direct your attention to the entry on

   25     March 14th of that statement.       See if we can blow that up.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 3636
                                                                              of 97


    1                 Do you see that entry for $8400?

    2     A    Yes, I do.

    3     Q    Okay.    And what is that reflecting?

    4     A    That's an intra-Bank of America transfer from Silve Group

    5     to an account ending in 7976 in the amount of $8400.

    6     Q    Do you have an understanding of who account 7976 is?

    7     A    Yes.

    8     Q    Who is that?

    9     A    It's Mitchell J. Stein's account.

   10     Q    How did you even get his bank account number?

   11     A    He gave it to me.

   12     Q    And why did he give it to you?

   13     A    He gave it to me to take care of him.

   14     Q    Did -- what was the source of the funds that you were

   15     paying Mr.~Stein?

   16     A    Stock sales of Signalife.

   17     Q    Stock sales, were they related to the Silve Group deal?

   18     A    Yes.

   19     Q    Now, you also mentioned checks, correct?

   20     A    Yes.

   21                 MR. MUHLENDORF:   If we could look at exhibit 59.

   22    BY MR. MUHLENDORF:

   23     Q    What is exhibit 59, Mr. Anand?

   24     A    It's a check from the Silve Group E-Trade account.          It's a

   25     check in the amount of $28,500 made out to Mitchell J. Stein,
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 3737
                                                                              of 97


    1     signed by me, Ajay Anand.

    2     Q     What's the date on the check?

    3     A     Date on the check is July 19th, 2007.

    4     Q     Okay.   And you said it's for $28,500?

    5     A     Yes.

    6     Q     What's written in the memo line there?

    7     A     It says for legal fees.

    8     Q     Okay.   Had Mr. Stein performed any legal services for you

    9     that would entitle him to $28,500?

   10     A     No.

   11     Q     Why is that written on the check?

   12     A     He asked me to write that on the check.

   13     Q     Is it true?

   14     A     No.

   15     Q     Why'd you do it?

   16     A     Because we made a lot of money, the Silve Group and myself

   17     made a lot of money on the transaction, and I wanted -- he

   18     asked me to pay him back some of that, and I did.

   19     Q     And not including cash payments, which we're going to get

   20     to in a second, but how much did you, these wires and

   21     including this check, do you have a rough feel on how much you

   22     paid Mr.~Stein by taking care of him in the spring-summer of

   23     2007?

   24     A     Yes, it was approximately a hundred thousand dollars or

   25     so.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 3838
                                                                              of 97


    1     Q    And the source of that money you used to take care of

    2     Mr.~Stein, what was that?

    3     A    Stock sales of Signalife.

    4     Q    And those were stock sales from the Silve Group?

    5     A    Yes.

    6     Q    Now -- so we've got this check for legal fees.          Did

    7     Mr.~Stein ever send you a bill for legal fees?

    8     A    No.

    9     Q    Was the Silve Group a client of Mr.~Stein's?

   10     A    No.

   11     Q    Were you and Mr. Gulati legal clients of Mr.~Stein's?

   12     A    No.

   13     Q    Were you clients at least to the tune of $28,500?

   14     A    No.

   15                 MR. MUHLENDORF:   If we could -- we're going to play

   16     another clip from October 18th, 2009, page 337, line 21, to

   17     338, line 4.    And this is clip 10.

   18                 (Audio played.)

   19    BY MR. MUHLENDORF:

   20     Q    Mr. Anand, we just saw a check you wrote -- the Silve

   21     Group wrote Mr.~Stein for $28,500.        Is what Mr.~Stein

   22     testified to under oath to the SEC true?

   23     A    No.

   24     Q    Was Mr.~Stein aware of who the Silve Group was?

   25     A    Yes.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 3939
                                                                              of 97


    1     Q    Now, in addition to the wire payments that Mr.~Stein asked

    2     you to give him, the bank transfers from the sale of Silve

    3     Group stock and the check that we just saw for fake legal

    4     fees, did you also give him cash payments?

    5     A    Yes.

    6     Q    Okay.    And did Mr.~Stein have a term for when he wanted

    7     you to bring him a cash payment?

    8     A    Yes.    Whenever I'd meet Mr.~Stein, he would ask me to

    9     bring him a package, and that package would be indicative of

   10     cash, me giving him cash.

   11                 MR. MUHLENDORF:   If we could blow up exhibit 314.

   12    BY MR. MUHLENDORF:

   13     Q    I don't think it's in your binder because it's a clip.

   14                 MR. MUHLENDORF:   And don't play it quite yet, Eric.

   15    BY MR. MUHLENDORF:

   16     Q    Now, Mr. Anand, you just mentioned at the very outset that

   17     you had some tape -- some recordings of Mr.~Stein, correct?

   18     A    Yes.

   19     Q    Were some of those voice messages that he left for you?

   20     A    Yes.

   21                 MR. MUHLENDORF:   Let's play exhibit 314.

   22                 (Audio played.)

   23                 THE COURT:   Is this in evidence?

   24                 MR. MUHLENDORF:   I don't believe it is.

   25                 (Audio played.)
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 4040
                                                                              of 97


    1                 MR. MUHLENDORF:     Your Honor, we'd move 314 into

    2     evidence.

    3                 MR. STEIN:   No objection.

    4                 THE COURT:   Admitted without objection.

    5          (Government Exhibit No. 314 entered into evidence.)

    6                 MR. MUHLENDORF:     Now, may I ask of the Court if the

    7     jury could hear that?        It was sort of low to me.

    8                 JURORS:   Yes.

    9    BY MR. MUHLENDORF:

   10     Q    Mr. Anand, what was Mr.~Stein referring to when he told

   11     you to bring him a package?

   12     A    Cash.

   13     Q    If we could turn to exhibit 342, the second page of that

   14     exhibit.

   15                 Okay.   What is 342, just so the jury understands what

   16     we're looking at again?

   17     A    It's a bank statement from Bank of America for the Silve

   18     Group for the period May 23rd to June 21st, 2007.

   19     Q    And if we could look at the entry on May 29th, 2007, is

   20     May 29th the same date as the voice-mail Mr.~Stein just left

   21     you asking for a package?

   22     A    Yes.

   23     Q    Okay.   And is there an entry on May 29th, 2007?

   24     A    Yes, there is.

   25     Q    Okay.   And what's that entry?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 4141
                                                                              of 97


    1     A    It's a withdrawal in the amount of $5200.

    2     Q    Okay.    What did you do with that $5200?

    3     A    I gave it to Mr.~Stein upon meeting him that evening.

    4     Q    And what was the source of the funds that you gave

    5     Mr.~Stein?

    6     A    Stock sales of Signalife for the benefit of the Silve

    7     Group.

    8     Q    Now, the payments that we just looked at, that $5200 one

    9     and the $8400 one, did Mr.~Stein give you any directions about

   10     keeping the dollar values below a certain threshold?

   11     A    Yes.

   12     Q    What was that direction?

   13     A    Keep any transfers or withdrawals under $10,000.

   14     Q    Do you have an understanding why he would tell you that?

   15     A    Yeah, because it wouldn't spark suspicion.

   16     Q    Now, so that's -- we're looking right now at May of 2007.

   17                 In the summer of 2007, did you have a meeting with

   18     Mr. Stein and Dr.~Harmison?

   19     A    Yes, I did.

   20     Q    Okay.    Where was that meeting?

   21     A    It was at Mi Piace in Calabasas.

   22     Q    Who arranged that meeting?

   23     A    Mr.~Stein.

   24     Q    What was the purpose of the meeting as you understood it?

   25     A    Mr.~Stein called me that day, had told me that
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 4242
                                                                              of 97


    1     Mr. Harmison was now -- Dr.~Harmison was now coming onboard,

    2     he would finish up what Pam Bunes couldn't finish up, and that

    3     I should come down and meet with both him and Dr.~Harmison

    4     this evening.

    5     Q    Did you, in fact, meet with Dr.~Harmison and Mr.~Stein?

    6     A    Yes, I did.

    7     Q    Now, at the restaurant, did Mr.~Stein raise any issues

    8     relating to Signalife and ways to increase Signalife's

    9     revenue?

   10     A    Yes, he did.

   11     Q    Please explain what Mr.~Stein told you about that issue at

   12     this meeting?

   13     A    Mr.~Stein initially asked me if I knew anybody with a

   14     warehouse, and I asked him why.        He suggested that if the

   15     company were to -- well, let me back up a little bit.

   16                Even before we even got to that, Mr.~Stein had told

   17     me that Silve Group had made a lot of money on this deal,

   18     didn't really perform, we only sold one unit, and then

   19     subsequent to that, the discussion led to a question of do I

   20     know anybody that has a warehouse.        I said, no, I don't.     Why?

   21     Why do you ask?

   22                And he stated that if Signalife were to ship products

   23     to a warehouse, we could generate -- we could realize revenue

   24     by doing that.

   25     Q    Did you inquire of Mr.~Stein whether these would be actual
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 4343
                                                                              of 97


    1     sales shipping to the warehouse?

    2     A    No.

    3     Q    Did you have an understanding of whether they would be

    4     real sales?

    5     A    Well, from what it sounded like, it did not sound like

    6     they were real sales, no.

    7     Q    Now, did Mr.~Stein mention where this warehouse would be?

    8     A    I asked him why a warehouse, and why would we ship

    9     products there?     I said, where would this warehouse be?        He

   10     said, it doesn't matter where the warehouse is.          You can even

   11     ship them to a lawnmower shop in Indiana, it doesn't really

   12     matter.

   13     Q    Did this make sense to you?

   14     A    No.

   15     Q    Did it sound like it was legitimate?

   16     A    No.

   17     Q    Why didn't you just walk away?

   18     A    At that point -- at that point, I didn't know what to do.

   19     Q    Well, in addition to discussing the shipments to a

   20     warehouse, did Mr.~Stein discuss the issue of purchase orders

   21     with you?

   22     A    Yes, he did.

   23     Q    Okay.   And please explain how that happened, the

   24     discussion of the purchase orders, what Mr.~Stein was doing.

   25     A    Following that discussion regarding a warehouse, Mr.~Stein
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 4444
                                                                              of 97


    1     suggested -- first of all, he pulled out a manila envelope

    2     with something in it.      He asked me to take a look at what was

    3     inside.     There was two purchase orders.      The names on the

    4     purchase order was a company called IT Healthcare, based out

    5     of Texas, and he asked me to go to Texas or send somebody to

    6     Texas to submit these purchase orders on behalf of the Silve

    7     Group.

    8     Q    Okay.    Now, had you ever heard of IT Healthcare?

    9     A    No.

   10     Q    Did Silve Group have anything to do with IT Healthcare?

   11     A    No.

   12     Q    Let's have a look at exhibit 70, please.         It's in your

   13     notebook.

   14                 Is the name that's on exhibit 70 -- do you recognize

   15     exhibit 70?

   16     A    Yes, I do.

   17     Q    Okay.    What is exhibit 70?

   18     A    This is the purchase order I was shown at that meeting.

   19     Q    Okay.    And is the name familiar to you, IT Healthcare?

   20     A    Yes.

   21     Q    How do you know the name, IT Healthcare?

   22     A    IT Healthcare was the name on the purchase order.

   23     Q    Now, the amount in this purchase order of $3.3 million,

   24     was Silve Group involved in $3.3 million of sales?

   25     A    No.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 4545
                                                                              of 97


    1     Q    And it talks about, I think, in this purchase order 300

    2     units.     Had Silve Group made 300 units-worth of sales?

    3     A    No.

    4     Q    Well, when Mr.~Stein presented you an IT Healthcare

    5     purchase order, how did you respond?

    6     A    The first thing I responded by saying is, is this real or

    7     not, and his answer was doesn't matter if it's real or not.

    8     The second thing I said was, this is a company in Texas, the

    9     Silve Group is working on selling the product internationally,

   10     and this wouldn't make sense for us to do it.          I pushed back

   11     on saying, no, I don't want to do this.

   12     Q    And how did Mr.~Stein respond to your pushing back?

   13     A    He said that if you don't want to do it, that Ruben was

   14     outside waiting, and he could do it on my behalf.

   15     Q    And who is Ruben?

   16     A    Ruben was a driver of Mr.~Stein's.

   17     Q    Did you do what Mr.~Stein asked?

   18     A    No.

   19     Q    Now, come the fall of 2007, did you learn that Silve Group

   20     was somehow connected to sales in the public filings of

   21     Signalife?

   22     A    Yeah.    In the fall of 2007, I received a call from

   23     Mr. Sodi.     Mr. Sodi told me that there was some sales that

   24     were attributed to the Silve Group, and I said that's not

   25     accurate.     And he says, well, that's what I've heard, is that
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 4646
                                                                              of 97


    1     true.   And I said, no, it's not true.

    2     Q    Well, let's look at exhibit 73.

    3                 Do you recognize exhibit 73?

    4     A    Yes, I do.

    5     Q    Okay.    What is exhibit 73?

    6     A    It's a form 10-QSB for Silve Group for the quarter

    7     ending --

    8     Q    If I could help you, September 30th, 2007; is that right?

    9     A    Yes, September 30th, 2007.

   10     Q    Now, Mr. Anand, have you had a chance to look through this

   11     before you testified today?

   12     A    Yes, I did.

   13     Q    If you could turn to page 16, which is I think one of the

   14     two pages you have there.       There's a section entitled "Prepaid

   15     Sales Commissions."

   16                 Do you see that?

   17     A    Yes.

   18     Q    Okay.    It's up on your screen if you need that, as well.

   19     The screen in front of you, too.

   20     A    I have it here.

   21     Q    Okay.    So would you read the first sentence there.

   22     A    "During the nine month interim period ending

   23     September 30th, 2007, the company issued to the Silve Group a

   24     total 1,546,583 common shares valued at $2,637,251."

   25     Q    Okay.    And then what does it say about the issuance of
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 4747
                                                                              of 97


    1     these shares in advance?

    2     A    "The issuance of these shares was an advance against

    3     future commission to be earned by the Silve Group, as the

    4     shares issued represent fully vested, nonforfeitable equity

    5     instruments.    Notwithstanding that the Silve Group may have a

    6     monetary reimbursement obligation, they're recorded as an

    7     asset in the company balance sheet in accordance with the

    8     emerging issues task force."

    9     Q    Mr. Anand, that's fine; and I apologize to the court

   10     reporter.    We have to be careful to speak slowly so he can get

   11     down what you say.

   12     A    I apologize.

   13     Q    Now, the next thing I want to look at is the line starting

   14     with "the company," you see that?        "The company expects."

   15     A    Yes.

   16     Q    If you could please just read that, and then we'll talk

   17     about it.

   18     A    "The company expects that sales generated from the Silve

   19     Group over the next two to three years to be sufficient to

   20     offset the commissions already paid to them."

   21     Q    Okay.   Now, had the Silve Group, you or Mr. Gulati, ever

   22     conveyed that type of information to Signalife?

   23     A    No.

   24     Q    Had you ever told Mr.~Stein that sort of thing?

   25     A    No.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 4848
                                                                              of 97


    1     Q    Is that, in fact, in any way a true statement, to your

    2     knowledge?

    3     A    No.

    4     Q    Now, the next line starting with "as of September 30th."

    5     A    "As of September 30th, 2007, we have received purchase

    6     orders in the amount of $3,300,000 with respect to which, once

    7     filled, the Silve Group will be entitled to receive 660,000 in

    8     commissions that will be offset by the aforesaid prepaid

    9     commissions."

   10     Q    Now, Mr. Anand, do you recall the purchase order we were

   11     just looking at, the IT Healthcare purchase order?

   12     A    Yes.

   13     Q    Do you recall the amount in that purchase order?

   14     A    Yes.

   15     Q    How much was it?

   16     A    3,300,000.

   17     Q    Was the Silve Group in any way involved with that sale?

   18     A    No.

   19     Q    Had you ever given Mr.~Stein any reason to believe that

   20     the Silve Group was involved in a $3.3 million sale?

   21     A    No.

   22     Q    Is the statement in Signalife's public filing there false?

   23     A    Yes.

   24     Q    Did you ever convey that information to Signalife in any

   25     way, shape or form?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 4949
                                                                              of 97


    1     A    No.

    2     Q    Would Mr. Gulati have conveyed that information?

    3     A    No.

    4     Q    If we could look at -- if you'd pull up exhibit 61 in your

    5     notebook.

    6                 All right.   I want to start at the top of the

    7     exhibit.

    8                 What is exhibit 61, Mr. Anand?

    9     A    It is an e-mail from Dobieco to John Woodbury dated

   10     August 9th, 2007, with the subject of core of my audit

   11     committee response Silve; attorney/client privileged.

   12     Q    Do you have an understanding who Dobieco is?

   13     A    Yes.

   14     Q    Who is that?

   15     A    It's Mitchell Stein.

   16     Q    And in the first line of the document, let's read that, if

   17     you could.

   18     A    "John, please send Kevin with your edits as you deem

   19     appropriate, the following e-mail."

   20     Q    Okay.    And the second line.

   21     A    "Also, John, please direct Kevin to keep Pam out of the

   22     meetings with the auditors to the extent possible."

   23     Q    Okay.    Now, who is Kevin?    Do you have an understanding of

   24     who he's talking about there?

   25     A    I believe it's Kevin Pickard.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 5050
                                                                              of 97


    1     Q    And what role did he have at Signalife?

    2     A    I believe he was CFO.

    3     Q    So if we can go down a little bit to the e-mail that

    4     Mr. Stein drafts for Mr. Woodbury to send Kevin.          Starts out,

    5     "Kevin, a greeting," correct?

    6     A    Yes.

    7     Q    Okay.   And then if we look down at the discussion of the

    8     Silve Group, I want to draw your attention to that.

    9     "Dr. Harmison advises as follows."        If you could start with

   10     number 1.

   11     A    "The Silve Group initiative was and is an international

   12     initiative that he supports.       He remembered it from his

   13     approval at the board level.       The purpose of it is to support

   14     approximately $10 billion of sales in the short and mid terms,

   15     12 to 24 months.     It involves all of North America and several

   16     initiatives in South America and Europe."

   17     Q    Mr. Anand, had you ever conveyed to Dr.~Harmison or

   18     Mr.~Stein or Signalife that there were going to be $10 billion

   19     of sales in the short and mid term?

   20     A    No.

   21     Q    Is what Mr. Stein is asking Mr. Woodbury to write false?

   22     A    Yes.

   23     Q    And if we go up just one paragraph where it's -- Mr.~Stein

   24     writes that -- to have Mr. Woodbury write:         "Thus, Lowell

   25     Harmison, whose function it is to manage the Silve Group
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 5151
                                                                              of 97


    1     initiative, is overwhelmed now and will be speaking through me

    2     for the time being."

    3                Now, Mr. Anand, who was the contact between Signalife

    4     and the Silve Group?

    5     A    Mitch Stein.

    6     Q    How much communication did you have with Dr.~Harmison?

    7     A    I've only spoken to or met Dr.~Harmison five times.

    8     Q    Is what Mr.~Stein writes in this e-mail about Dr.~Harmison

    9     being the contact or managing the Silve Group, is that a true

   10     or false statement?

   11     A    That's false.

   12     Q    Let's look at the second thing that Mr.~Stein asks the

   13     outside counsel to write the CFO -- securities lawyer to write

   14     the CFO.

   15                Now, in paragraph 2 there, could you read that --

   16     well, read the first couple sentences there.

   17     A    "Pursuant to the operations, contacts, marketing,

   18     demonstrations, and other activities of Silve Group, the

   19     company made its first sales trip to Mexico City right around

   20     the time of Dr.~Harmison's appointment.         During that trip and

   21     the subsequent calls, the company has identified approximately

   22     15 million to $20 million of sales that it intends to close by

   23     the end of the first quarter of 2009."

   24     Q    Okay.   Now, is that a true statement?

   25     A    No.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 5252
                                                                              of 97


    1     Q    And had you ever conveyed that to Mr.~Stein?

    2     A    No.

    3     Q    Had you ever conveyed that to Signalife?

    4     A    Not that I recall, no.

    5     Q    Well, is it even close to the type of work Silve was

    6     actually accomplishing?

    7     A    No.

    8     Q    If we could have the second page of the exhibit.          There's

    9     a third thing that Mr.~Stein asks Mr. Woodbury to write to the

   10     CFO about Silve Group.      Could you read that, please.

   11     A    "Here are the estimates of sales in Mexico and

   12     internationally based upon our evaluation and the work of the

   13     Silve Group.

   14                "September 2007, $280,000.      November 2007, $560,000.

   15     December of 2007, $280,000.       First quarter 2008, $750,000.

   16     Second quarter 2008, $1,100,000.        Third quarter 2008,

   17     $1,750,000.    Fourth quarter of 2008, $2,550,000.        First

   18     quarter of 2009, $3,750,000."

   19     Q    Mr. Anand, you just told the jury a couple times now that

   20     Silve Group only had one sale that you remember, correct?

   21     A    That's correct.

   22     Q    Is -- are those estimates that Mr.~Stein is having

   23     conveyed to the CFO of the Silve Group's work, those true?

   24     A    No.

   25     Q    Are they at all accurate?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 5353
                                                                              of 97


    1     A    No.

    2     Q    Had you ever conveyed that information to Mr.~Stein?

    3     A    No.

    4     Q    If we could look at exhibit 73, the 10-Q again, and we

    5     want page 22.     It's the section entitled "Pending Purchase

    6     Orders."

    7                 Now, have you had a chance to read this prior to

    8     coming to testify today?

    9     A    Yes.

   10     Q    Okay.    In the first one it talks about a sale on

   11     September 14th, 2007, for $1.98 million.         Do you see that?

   12     A    Yes, I do.

   13     Q    Now, as the highly paid member of the Signalife sales

   14     team, were you aware of such a sale?

   15     A    No.

   16     Q    Now, the next entry is September 24, 2007, and the

   17     $3.3 million entry.      That's -- we've talked about that

   18     already, correct?

   19     A    Yes.

   20     Q    Other than the purchase order you saw from Mr.~Stein, have

   21     you -- were you aware of any sales equating to that much money

   22     coming into Signalife in that period of time?

   23     A    No.

   24     Q    If we could look at page 45 of that exhibit, under

   25     "Subsequent Events."
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 5454
                                                                              of 97


    1                 Do you see that section?

    2     A    Yes.

    3     Q    I want to draw your attention to the section here,

    4     "Subsequent Events."

    5                 If you could read starting with "on" to where it says

    6     $564,000.

    7     A    "On October 4th, 2007, Signalife received a purchase order

    8     from a hospital/medical group purchasing organization for a

    9     finance lease for Fidelity 100 units.        The gross proceeds of

   10     Signalife, assuming exercise of purchase rights, will be

   11     $564,000."

   12     Q    Now, $564,000, can you remember that number for me,

   13     Mr. Anand?

   14     A    Yes.

   15     Q    Let's pull up in your notebook exhibit 74.         Do you have

   16     that?

   17     A    Yes.

   18     Q    And exhibit 74 is what?

   19     A    It's a purchase order from IT Healthcare to Signalife for

   20     47 units for Fidelity 100 cables.

   21     Q    And it has -- what's the price on that?

   22     A    $564,000.

   23     Q    Is that the same number we were just talking about in the

   24     Q?

   25     A    Appears to be, yes.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 5555
                                                                              of 97


    1     Q    Now, the date on this one was what?        This was a few days

    2     after the other one.      Let's see.    What's the date on this one?

    3     A    October 4th, 2007.

    4     Q    Okay.   If you could speak up, please.

    5     A    October 4th, 2007.

    6     Q    Now, did Silve Group have anything whatsoever to do with

    7     this second purchase order, the smaller purchase order?

    8     A    No.

    9     Q    Had you ever conveyed to Mr.~Stein or the company,

   10     Signalife, that you somehow had been involved in a $564,000

   11     sale?

   12     A    No.

   13     Q    Now, let's look at exhibit 78, if you would.         What is

   14     exhibit 78?

   15     A    It is an e-mail from Dobieco to John Woodbury dated

   16     October 16th, 2007.      Subject is attorney/client privileged.

   17     Q    Okay.   And John is, again, who?

   18     A    Company counsel for Signalife.

   19     Q    Okay.   Now, if we could look at the second page of the

   20     exhibit, there's a paragraph entitled, "The smaller IT order."

   21     Can you see that?

   22     A    Yes.

   23     Q    Could you read that, please?

   24     A    "The smaller IT order was a direct referral from Silve as

   25     can be attested to by Harmison, and probably by Silve, as
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 5656
                                                                              of 97


    1     well, and certainly by IT.       So that has to be accounted for as

    2     being deducted from the prepaid expenses.         They are supposed

    3     to bring in the largest healthcare system in Mexico this week,

    4     which will be more proof of what they are doing."

    5     Q    Okay.    "In any event" -- finish out.

    6     A    "In any event, give me a call, Mitch."

    7     Q    Now, is what Mr.~Stein writes in the e-mail to

    8     Mr. Woodbury true?

    9     A    No.

   10     Q    Had Signalife had anything to do with a smaller IT order?

   11     A    Silve?

   12     Q    Silve, excuse me.

   13     A    No.

   14     Q    Silve -- anything -- a direct referral from Silve, could

   15     that be attested to by Harmison?

   16     A    Not from my knowledge, no.

   17     Q    Had you ever talked to Dr.~Harmison about anything

   18     involving a $564,000 order?

   19     A    No.

   20     Q    Is what Mr.~Stein writes to company counsel, John

   21     Woodbury, false?

   22     A    Yes.

   23                 MR. MUHLENDORF:   Now, if we could play another clip.

   24     It's December 18th, 2009, page 370, line 12 to 371, line 1.

   25     It's clip 23.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 5757
                                                                              of 97


    1    BY MR. MUHLENDORF:

    2     Q    Mr. Anand, when Mr. Stein answers "yes" to the question,

    3     "was the Silve Group involved in the sale to IT Healthcare;"

    4     is that true?

    5     A    No.

    6     Q    Now, after you learned that you had been associated with

    7     IT Healthcare filings -- IT Healthcare sales in Signalife's

    8     public filings, did you contact Mr.~Stein?

    9     A    Yes, I did.

   10     Q    And how did -- what did he tell you?        Did you ask him

   11     about this issue?

   12     A    I did.   I did ask him.     We had a conversation on the phone

   13     in which I asked him, I was told that these sales were

   14     attributed to us, and you and I both know that they weren't,

   15     and he adamantly said that they were, that you know they were,

   16     and they were.     I said, no, they weren't.      That's not true.

   17     That's not what happened.

   18     Q    Well, having learned that you were associated with fake

   19     sales reporting in public filings, did you go to the SEC?

   20     A    No.

   21     Q    Why didn't you?

   22     A    Because I was scared.

   23     Q    Why were you scared?

   24     A    I didn't know what to do.      I didn't know what to do at

   25     that point.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 5858
                                                                              of 97


    1     Q    I mean, it's a fact you had made a lot of money working

    2     with Mr.~Stein, hadn't you?

    3     A    Yes.

    4     Q    Were you just hoping to keep the gravy train rolling?

    5     A    To a certain degree, yes.

    6     Q    Was this the last you heard from Mr.~Stein about IT

    7     Healthcare?

    8     A    No.

    9     Q    Did you hear from him in early 2008 about it?

   10     A    Yes, I did.

   11     Q    Explain to the jury what happened there.

   12     A    Early 2008 I got a call from Mr.~Stein stating something

   13     to the effect of, I have a way for you to get out of these

   14     phony sales.    And I said, I didn't do the phony sales.         And he

   15     said, yes, you did.      But anyway, I have a way for you to get

   16     out of it.    I said, what are you talking about?        And he said,

   17     go to a Starbucks or somewhere, create a, you know, phony

   18     e-mail address, and send a letter stating that IT Healthcare

   19     has moved to Israel.

   20     Q    Did you create such a letter?

   21     A    Well, at first, I pushed back and said, I didn't do this.

   22     Well, he asked me that this is the last you'll hear about it

   23     and it will be over; and foolishly, I did create a letter from

   24     my home on a Silve Group e-mail, attached a file to it and

   25     sent a letter saying that IT Healthcare moved to Israel.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 5959
                                                                              of 97


    1     Q    Did Mr.~Stein give you a name to use with IT Healthcare?

    2     A    Yes, I believe so.

    3     Q    Do you remember what that name was?

    4     A    The name was Yossi Keret.

    5     Q    Did you ask Stein why Israel, of all places?

    6     A    Said it was just an arbitrary place.

    7     Q    Didn't matter?

    8     A    Didn't matter.

    9     Q    Now, let's look at exhibit 94, page 3.

   10                 Is this the letter that you created at Mr.~Stein's

   11     direction?

   12     A    This is not the letter I created, no.

   13     Q    Do you know what happened to the letter you created?

   14     A    I do not know what happened.

   15     Q    But the name in the bottom of this cancellation is -- or,

   16     excuse me, this change of address, is that the name Mr.~Stein

   17     told you to use?

   18     A    Yes.

   19                 The letter I produced was similar to this, but it

   20     wasn't this letter.      Mine had a logo on it, I believe.

   21     Q    Who did you send that letter to when you created it at

   22     Mr.~Stein's direction?

   23     A    I believe I sent it to both Mr.~Stein and Dr.~Harmison.

   24     Q    Now, was that the last IT Healthcare letter Mr.~Stein

   25     asked you to create?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 6060
                                                                              of 97


    1     A    That was not the last.

    2     Q    Okay.    Tell the jury about the next time.

    3     A    I believe I got a call sometime later, same issue.

    4     Q    And later being later in 2008?

    5     A    Sometime in 2008, another call from Mr.~Stein saying -- he

    6     was frantic on the phone, saying that things are coming to an

    7     end, the world is over, and I need you to put together another

    8     letter stating that the company -- IT Healthcare canceled the

    9     order.

   10                 I pushed back and said I thought that was the end of

   11     it with the last letter, why are we doing this again?           Why am

   12     I -- why are you asking me to do this again?          He said, that's

   13     it, you'll never hear from me again, you'll never hear about

   14     this again.

   15                 And foolishly, again, I put together a letter, sent

   16     it off to both him and Harmison, stating the same thing, that

   17     the company had canceled the orders; and I was hoping that was

   18     the end of it.

   19     Q    Now, if you'll look at exhibit 151 in your book, page 2.

   20                 Do you recognize exhibit 151, page 2?

   21     A    Yes.

   22     Q    Is this the letter that Mr.~Stein asked you to draft?

   23     A    The language is similar, but this is not the letter I

   24     produced.

   25     Q    Now, the name Yossi Keret, who gave you that name?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 6161
                                                                              of 97


    1     A    Mr.~Stein gave me that name.

    2     Q    But, again, this isn't the letter you produced?

    3     A    This is not the letter I produced, no.        The wording is

    4     similar, but it's not the letter I produced.

    5     Q    Do you know what you did with that letter?

    6     A    Yes, I sent it to Stein and Harmison.

    7     Q    Now, when you were asked by the SEC about this, did you

    8     tell the SEC about the IT Healthcare issue?

    9     A    No.

   10     Q    Only a couple more questions, Mr. Anand.

   11                Throughout the time you were associated with

   12     Signalife, who was your main contact?

   13     A    Mitchell Stein.

   14     Q    Okay.   And to your knowledge, who at Signalife would have

   15     been the person most able to tell the SEC about the goings on

   16     of the Silve Group?

   17     A    Because I spoke to him seven or eight times a day, it

   18     would be Mitchell Stein.

   19     Q    Any doubt in your mind about that?

   20     A    No.

   21                MR. MUHLENDORF:    We're going to play a clip,

   22     page 352, line 10, to 353, line 1, of December 18th, 2009.

   23     And it's clip 19.

   24                (Audio played.)

   25    BY MR. MUHLENDORF:
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 6262
                                                                              of 97


    1     Q    Mr. Anand, did you discuss the Silve Group's dealings with

    2     Dr. Drakulic?

    3     A    No.

    4     Q    When Mr.~Stein tells the SEC the first person he spoke

    5     about, Dr. Drakulic, was the person who could discuss the

    6     Silve Group, was he telling the truth to the SEC?

    7     A    No.

    8     Q    Who was the person who could tell the SEC the truth about

    9     the Silve Group?

   10     A    Mitch Stein.

   11     Q    And whenever a lawyer tells you only one more question,

   12     there's usually two more.

   13                Going back to your contract, the Silve Group

   14     contract, who was the driving force behind that regarding

   15     Silve Group?

   16     A    Mitchell Stein.

   17     Q    Who negotiated the contract?

   18     A    Mitchell Stein.

   19     Q    And we've talked a lot about sending money to Mr.~Stein.

   20     Did you ever send any money to Dr.~Harmison?

   21     A    No.

   22     Q    Did you ever send any money to any other employee or

   23     officer of Signalife?

   24     A    No.

   25     Q    Was Mr.~Stein the only person that received money from the
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 6363
                                                                              of 97


    1     sale of shares, Signalife shares, associated with you?

    2     A    Yes.

    3                 MR. MUHLENDORF:      Answer any questions Mr. Stein might

    4     have.

    5                 THE WITNESS:    Okay.

    6                 THE COURT:    Mr.~Stein, why don't we take a very short

    7     break before you begin your cross-examination.          All right?

    8                 Ladies and gentlemen, let's just take 10 minutes.         If

    9     we can be back here at 4:30.         Please don't discuss the case or

   10     form any opinions.       Thank you, and leave all your items at

   11     your seats.     Thank you.

   12          (The jury exits the courtroom.)

   13                 THE COURT:    All right.    Sir, you may step down, and

   14     don't discuss your testimony during the recess.

   15          (A recess was taken from 4:23 p.m. to 4:31 p.m., after

   16     which the following proceedings were had:)

   17                 THE COURT:    We ready to go?

   18                 MR. STEIN:    Yes, Your Honor.

   19                 THE COURT:    Let's bring the jurors in, please.

   20                 Do you have any idea how long you're going to be,

   21     Mr.~Stein?     I assume it's going to take more than a half an

   22     hour?

   23                 MR. STEIN:    Yes.

   24                 THE COURT:    Do we have our witness?

   25          (The jury enters the courtroom, after which the following
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 6464
                                                                              of 97


    1     proceedings were had:)

    2                 THE COURT:   Welcome back, everyone.      Please be

    3     seated.

    4                 All right.   Mr. Anand, you're still under oath, sir.

    5                 THE WITNESS:    Yes.

    6                 THE COURT:   Mr.~Stein, you may cross-examine.

    7                 MR. STEIN:   Thank you, Your Honor.

    8                                Cross-examination

    9    BY MR. STEIN:

   10     Q    Good afternoon, Mr. Anand.

   11     A    Good afternoon.

   12     Q    In your agreement with the United States, there are

   13     numerous provisions that you have to comply with.          You're

   14     aware of those provisions?

   15     A    Yes.

   16     Q    You're not to contest any facts agreed to in the

   17     agreement.    Remember that?

   18     A    Yes.

   19     Q    One of those facts is that you obstructed justice when you

   20     testified before the SEC; is that right?

   21     A    Yes.

   22     Q    But the information doesn't really go through exactly what

   23     parts of your testimony before the SEC are true and what parts

   24     of them are false, does it?

   25     A    No.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 6565
                                                                              of 97


    1     Q    And does this look about the size of the transcript with

    2     you and the SEC?

    3     A    Yes.

    4     Q    Did you say anything truthful to the SEC when you met with

    5     them?

    6     A    Yes.

    7     Q    So you would be able to truthfully, as required under your

    8     plea agreement, tell me whether some statements you made to

    9     the SEC are true or false as you sit here today?

   10     A    Yes.

   11     Q    Page 73 of your SEC transcript, dated May 1 -- excuse me,

   12     taken July 22nd, 2010, you were questioned by Ms. Nonaka, and

   13     she asked:    "Other than the international distribution

   14     opportunities and the IT work through Resource Networks, are

   15     there any other duties or responsibilities that the Silve

   16     Group or any other entity that you're affiliated with had for

   17     Signalife?"

   18                 MR. MUHLENDORF:   Where are you reading from?

   19                 MR. STEIN:   Page 72.

   20                 MR. MUHLENDORF:   You said 73.

   21                 MR. STEIN:   I'm sorry, 72.

   22    BY MR. STEIN:

   23     Q    And you answered:     "No, not that I'm aware of."

   24                 Was that a truthful answer?

   25     A    Can you repeat the question?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 6666
                                                                              of 97


    1     Q    The question was by the SEC lawyer, Ms. Nonaka, the woman

    2     whose voice you heard on the clips the Government played.            She

    3     said:

    4                "Other than the international distribution

    5     opportunities and the IT work through Resource Networks, are

    6     there any other duties or responsibilities that the Silve

    7     Group or any other entity that you're affiliated with have for

    8     Signalife?"    And your answer was --

    9                MR. MUHLENDORF:      Your Honor, I object.    This is not a

   10     proper use of the testimony.

   11                THE COURT:    Could I see counsel and Mr.~Stein,

   12     please?

   13          (The following proceedings were held at sidebar:)

   14                THE COURT:    What are we doing, Mr. Stein?       We went

   15     through this yesterday with the deposition of some witness, I

   16     forgot who it was.

   17                MR. STEIN:    This witness has testified that he lied

   18     to the SEC.

   19                THE COURT:    Okay.

   20                MR. STEIN:    I need to know when he lied and when he

   21     didn't lie.

   22                THE COURT:    Why?

   23                MR. STEIN:    Because it goes to his credibility, it

   24     goes to his plea agreement and whether he's violated it.           I

   25     need to know today what in the SEC testimony is truthful or
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 6767
                                                                              of 97


    1     not.   All these issues pertain to his role at Signalife and

    2     the facts alleged in the indictment.

    3                MR. WHITE:    Your Honor, may I have a moment with

    4     Mr.~Stein?

    5                THE COURT:    Yes.

    6                MR. STEIN:    I understand what the Court is saying.        I

    7     can ask it a different way, but because of the plea agreement,

    8     I want to go through the issues directly pertaining to this

    9     indictment, but I'll ask it a different way if the Court

   10     sustains the objection.

   11                THE COURT:    I mean, at this point, I think I have to,

   12     because I'm not sure -- he's already admitted he lied to the

   13     SEC, so for credibility purposes, you've already established

   14     that he lied, he pled guilty to lying.

   15                MR. STEIN:    No, he pled guilty to obstruction.       He

   16     didn't indicate -- it's a long deposition.         I'm only asking

   17     him about matters that are relevant to the issues in this

   18     indictment, but I can ask him another way.

   19                THE COURT:    I guess we're going to have to go through

   20     it the same way that I suggested yesterday with the

   21     deposition.    Ask him a question and see if he gives a

   22     different answer than he gave before the SEC.          Then you can

   23     impeach him with his testimony before the SEC, or maybe he'll

   24     admit, no, that was one of the lies I told.

   25                But I think you should confine your questions to
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 6868
                                                                              of 97


    1     something that relates to the issues in this case as opposed

    2     to -- I have no idea what they covered with him in the SEC

    3     investigation, if it went beyond what's involved in this case.

    4                 So if he lied about something else that had nothing

    5     to do with this case, again, he's admitted lying.          So I don't

    6     know why we need to cover something, a lie about something

    7     that's not related to the indictment in this case.

    8                 So try and proceed, and we'll go --

    9                 MR. STEIN:   I understand.    Thank you.

   10          (Sidebar conference concluded.)

   11    BY MR. STEIN:

   12     Q    We're back on the record, Mr. Anand.

   13                 Are you familiar with a company called Resource

   14     Networks?

   15     A    Yes.

   16     Q    What is Resource Networks?

   17     A    You asked me to find a company in India that does remote

   18     IT and computer work, and you asked me to set up this company

   19     to do some work for Signalife.

   20     Q    Did this company do work for Signalife?

   21     A    I believe so.    I don't know.     That's a good question.      I

   22     don't recall.

   23     Q    But you set up the company?

   24     A    Yeah, at your request, you asked me to set up a company to

   25     do some remote IT work for Signalife.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 6969
                                                                              of 97


    1     Q    But you don't know whether that company did any work for

    2     Signalife; is that right?

    3     A    I don't believe we did, no.

    4     Q    So we have Resource Networks, the Silve Group, Knights

    5     Bridge, Capital, was it called?

    6     A    SES Capital.

    7     Q    SES Capital.

    8                Were there any other companies that you formed at

    9     anyone's request that related to Signalife at any time?

   10     A    There was Ashton Reed.

   11     Q    That company was formed having to do with Signalife?

   12     A    No, that company already existed, but it was involved in

   13     Signalife some way.

   14     Q    But I didn't ask you to set that company up; is that

   15     right?

   16     A    No.

   17     Q    You set that up on your own, right?

   18     A    I did, yes.

   19     Q    Any other company involved directly or indirectly with

   20     Signalife?

   21     A    I believe that's all of them.

   22     Q    Let's go through~-- the government started off by going

   23     through your background, and you indicated that you worked

   24     with a company called MedSoft with me, and then you met

   25     through Raul Silvestre what was then called Recom Managed
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 7070
                                                                              of 97


    1     Systems.    Do you recall that testimony?

    2     A    I believe that's how I was reintroduced to you, but it was

    3     11 years ago.     That's the way I remember it, yes.

    4     Q    Meaning 2002?

    5     A    Yes.

    6     Q    And you invested directly in Recom Managed Systems in

    7     2002; is that correct?

    8     A    That's correct.

    9     Q    And you asked me for blocks of shares below market

   10     beginning at about that time; is that correct?

   11     A    No.

   12     Q    So you did not ask me for blocks of shares in the 2002

   13     timeframe, is that your testimony?

   14     A    I don't believe so, no.

   15     Q    When did you start doing that, asking me for blocks of

   16     shares at below market?

   17     A    Wait, I'm a little bit confused.       Are you asking me about

   18     my investment in Recom or blocks of shares below the market?

   19     I don't --

   20     Q    Blocks of shares to purchase from the trust that you

   21     testified that you asked for, that I get you blocks of shares

   22     at below market price, and then you ended up selling them

   23     because the market price went down.        Remember that testimony?

   24     A    Yes.

   25     Q    When did you start doing that?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 7171
                                                                              of 97


    1     A    The first block of shares I bought from ARC Finance I

    2     believe were in 2006.

    3     Q    Isn't it true that on August 14th, 2003, Ashton Reed and

    4     Company, your company, bought 25,000 shares from me

    5     personally, transferred to you by Mark Nevdahl?

    6     A    I don't recall that at all.

    7     Q    At a value at that time of $93,202.50?        You don't recall

    8     that?

    9     A    No.

   10     Q    Starting before you met me, you were involved in the

   11     investment field; is that right?

   12     A    Yes.

   13     Q    You worked for a company named Magnum Financial; is that

   14     correct?

   15     A    Yes, that's where I met you.       I consulted for Magnum

   16     Financial, yes.

   17     Q    And what was Magnum Financial?

   18     A    It was a consulting firm for public companies, which they

   19     did some of the press releases and some market communications.

   20     I met you in their office, in Magnum Financial in Los Angeles.

   21     Q    And when was that approximately?

   22     A    1999.

   23     Q    Isn't it true that your purchase of block shares under the

   24     market was pursuant to a consulting agreement where you were

   25     going to assist Signalife, the company, regarding the market
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 7272
                                                                              of 97


    1     of the stock and regarding assuring a fair and orderly market?

    2     A    One of the things you've asked me since the beginning of

    3     my involvement in Recom, Signalife, and Heart Tronics was to

    4     support the market, whether it's through myself, my friends or

    5     people that I knew.      That was one of the responsibilities,

    6     yes.

    7     Q    And that responsibility that you had was the reason why

    8     you felt it was appropriate to purchase block shares at under

    9     the market; is that correct?

   10     A    No.    You -- one of the things that you and I spoke about

   11     many times a day was the market of the stock.          You did not

   12     want the market of the stock to fall, and one of the main

   13     reasons I was involved in the company was because I knew

   14     people in the market, whether they were institutional people,

   15     retail people or high net worth people, to buy and support the

   16     stock.     That was one of the things you asked me for daily,

   17     yes.

   18     Q    But yet, all the stock that you were paid you indicated

   19     you sold into the market; is that right?

   20     A    Not all of them, no.     Most of them, yes.

   21                 For example, the first 50,000 shares I bought in 2002

   22     I never sold.     Still have the certificate to this day.

   23     Q    I'm talking about the shares paid to you by Signalife

   24     under the contract with the Silve Group.

   25     A    Some of the shares were canceled, but most of them were
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 7373
                                                                              of 97


    1     sold, yes.

    2                MR. STEIN:    May I approach, Your Honor?

    3                THE COURT:    Have you shown it to counsel?

    4                MR. STEIN:    Yeah, I have.    They won't stipulate it

    5     into evidence.

    6    BY MR. STEIN:

    7     Q    I'll show you what's been marked as exhibit 353.          Have you

    8     ever seen this document before?

    9     A    I haven't seen it recently.

   10     Q    Is that your handwriting on the top of the document?

   11     A    Possibly.    It does look like my handwriting.       I'm not a

   12     hundred percent sure.      I don't remember this article,

   13     but . . .

   14     Q    Did you send me that article with the handwriting on it?

   15     "To Mitch from Ajay"?

   16     A    I actually don't recall this article.        I don't think I've

   17     ever seen this article.      It could be.    It's possible.     I don't

   18     recall.    I don't remember seeing this article.

   19     Q    So you don't recall sending that to me?

   20     A    No.

   21     Q    And you're not unequivocally saying that that's your

   22     handwriting on the top or isn't?

   23                MR. MUHLENDORF:    Your Honor, asked and answered.        He

   24     didn't send him the article.

   25                THE COURT:    Overruled.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 7474
                                                                              of 97


    1                THE WITNESS:    I'm not saying I didn't send the

    2     article.    What I I'm saying is I don't recall seeing this

    3     article.

    4    BY MR. STEIN:

    5     Q    Is that your handwriting on the top of the article that

    6     says "To Mitch from Ajay"?        The answer is either yes, no or I

    7     don't know.

    8     A    I don't know.

    9                MR. STEIN:    I'll redact the article and just move it

   10     into evidence with his handwriting tomorrow -- without the

   11     handwriting.

   12                May I approach again, Your Honor?

   13                THE COURT:    Yes.

   14    BY MR. STEIN:

   15     Q    Show you what's been marked as exhibit 54 and stipulated

   16     into evidence, exhibit 54 defense.

   17                THE COURT:    Is that already in evidence or are you

   18     saying it's going to go into evidence?

   19                Is there any objection to 54?

   20                MR. MUHLENDORF:      No, Your Honor.

   21                THE COURT:    All right.    Fifty-four will be admitted

   22     without objection.

   23          (Defense Exhibit No. 54 entered into evidence.)

   24    BY MR. STEIN:

   25     Q    You produced exhibit 54 to the Securities and Exchange
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 7575
                                                                              of 97


    1     Commission; isn't that correct?

    2     A    Yes.

    3     Q    Exhibit 54 is true; isn't that correct?

    4     A    To the best of my knowledge, yes.       This is something that

    5     I produced at your request.

    6     Q    The document is at my request?

    7     A    Yes.

    8     Q    You produced it to the SEC?

    9     A    No, you asked me to produce an update on what Rajiv and I

   10     were doing based on this India initiative, and this is what I

   11     produced.

   12     Q    And it's true?

   13     A    Yes, it does look like it's true, yes.

   14     Q    Now, Mr. Rajiv Singh was an individual who was hired by

   15     Pam Bunes and had a preexisting relationship with Ms. Bunes

   16     and Mr. Hildebrandt; is that right?

   17     A    I don't know that.

   18     Q    He previously worked at L3 Communications; is that right?

   19     A    Yes.

   20     Q    You certainly met with him enough to know whether he had a

   21     preexisting relationship with me, right?

   22     A    Yes.

   23     Q    And he did not have one; is that right?

   24     A    That's correct.

   25     Q    Could you please read paragraphs 1 and 2 into the record.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 7676
                                                                              of 97


    1     A    "Throughout the duration of this project, I met with Mr.

    2     Rajiv Singh approximately 10 times.        The meetings take place

    3     in California, usually over dinner.        I have also flown to

    4     Maryland and met with Mr. Singh at his residence and at the

    5     Ritz Carlton, Virginia.      The meeting in Virginia included

    6     Dr. Lowell Harmison and Mr. Ashok Sharma, chairman of

    7     Aglowmed, located in Mumbai, India.

    8                "These meetings are strategy-based meetings which

    9     focus on the implementation of a plan to develop clinical

   10     testing centers in India and to further develop synergies for

   11     Signalife's main product."

   12                Paragraph Two:    "Throughout this project, I have

   13     spoken/interfaced with Mr. Singh approximately a hundred times

   14     over the phone and 75 times via e-mail facsimile, et cetera."

   15     Q    Today, where are those e-mails between you and Mr. Singh?

   16     Does the SEC have them?

   17     A    I don't know.

   18     Q    Does the DOJ have them?

   19     A    I don't know if they have them.

   20     Q    Do you have them?

   21     A    I produced everything I had.

   22     Q    Did you produce 75 e-mails to the DOJ under your plea

   23     bargain agreement which requires you to produce all documents?

   24     A    I don't believe so, no.

   25     Q    Did you tape-record Mr. Singh on any of the hundred times
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 7777
                                                                              of 97


    1     he called you?

    2     A     No.

    3     Q     How about facsimiles?     Did you produce any of those to the

    4     Department of Justice or the SEC between you and Mr. Singh?

    5     A     Not that I recall.

    6     Q     I wasn't on any of these hundred calls with Mr. Singh;

    7     isn't that right?

    8     A     You were at the initial meeting with myself and Ms. Bunes

    9     and Mr. Singh in Newport Beach, and you were on a few of the

   10     calls with myself and Mr. Singh, yes.

   11     Q     A few, meaning three, four, or a few meaning several, like

   12     10?

   13     A     I'd be speculating if I gave you a number.

   14     Q     Not a lot of the hundred; is that right?

   15     A     Well, the initial call to Mr. Singh and the introduction

   16     to Mr. Singh was from you on a conference call with me and

   17     Mr. Singh.

   18     Q     I'm talking about the hundred calls that you're talking

   19     about over the phone and 75 via e-mail.         I wasn't on a

   20     significant amount of those, was I?

   21     A     I don't know if you were.     I don't believe so.

   22     Q     Now, Mr. Singh was an important person.       He was an officer

   23     of Signalife; is that right?

   24     A     No.

   25     Q     Mr. Singh was not the co-CTO of Signalife under contract?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 7878
                                                                              of 97


    1     A    I understood Mr. Singh to have a consulting agreement with

    2     Signalife through his company, Garu Technologies.          I did not

    3     know he was CTO.

    4     Q    Or co-CTO?

    5     A    No, I understood him to be an engineer for the company.

    6     Q    Let's go down now to the third sentence.

    7                 Could you please read that into the record, "Based

    8     upon our meetings and discussions."

    9     A    Paragraph 3:    "Based upon our meetings and discussion,

   10     Mr. Singh feels that the Indian market is a great fit for

   11     Signalife's product/sales.       He also feels that India is a

   12     fertile ground to develop and implement a plan to clinically

   13     test Signalife's product for doctors and to develop and

   14     maintain a research platform for pharmaceutical companies that

   15     require an ambulatory cardiac signal for their compounds."

   16     Q    And that was a truthful statement of what Mr. Singh had

   17     indicated to you?

   18     A    Yes.

   19     Q    You indicated that you knew he was under contract, also

   20     stating these positions to Signalife, correct?

   21     A    Yes.

   22     Q    He was stating those positions, you understood, to

   23     Ms. Bunes or people he worked with, not to me, right?

   24     A    Could you repeat the question?

   25     Q    He was stating the positions outlined in paragraph 3 to
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 7979
                                                                              of 97


    1     the people he --

    2                 MR. MUHLENDORF:   Objection.

    3    BY MR. STEIN:

    4     Q    -- reported to Ms. Bunes but not to me, was that your

    5     understanding?

    6     A    No.    I can't comment on what Mr. Singh's interaction was.

    7     This is my interaction here.

    8     Q    So you don't know Mr. Singh's report and responsibilities

    9     within Signalife; is that your testimony?

   10     A    No, I do not.

   11     Q    Let's go on to paragraph 4.

   12     A    Paragraph 4:    "Mr. Singh's main contact in India is his

   13     brother-in-law, Mr. Ashok Sharma, president and chairman of

   14     Aglowmed located in Mumbai, India.        Aglowmed is a manufacturer

   15     of various compounds that works with a number of large

   16     pharmaceutical companies based in the U.S. and

   17     internationally."

   18     Q    And that statement was also, to your knowledge, true when

   19     you wrote it?

   20     A    Yes.

   21     Q    Do you remember any of the large pharmaceutical companies

   22     that he was involved in as mentioned in that paragraph?

   23     A    I do.

   24     Q    Could you recite them for us?

   25     A    One of them is Rambaxi (phonetic), to the best of my
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 8080
                                                                              of 97


    1     knowledge, and there was another one by the name of -- I don't

    2     recall the name.     I don't recall the name, but one of them was

    3     Rambaxi, I believe.

    4     Q    When you talked to Mr. Singh, what was the purpose of

    5     interacting with pharmaceutical companies in your role with

    6     the Silve Group?     What was your strategy there with

    7     pharmaceutical companies?

    8     A    Well, as I recall, you and I had a number of discussions

    9     regarding the fact that Baxter at the time had a big fallout

   10     with their drug -- one of their drugs, and they were looking

   11     to get clinical testing done overseas for drugs that affected

   12     the heart.

   13                 Now, one of the things you suggested to me was to go

   14     out and find manufacturers or people that develop those

   15     compounds in India and approach them to see if they wanted to

   16     do their cardiac testing with Signalife's products.

   17     Q    And that's what you're doing in paragraph 4, is that your

   18     testimony?

   19     A    That's what the paragraph 4 was discussing, yes.

   20     Q    And this document was delivered to Signalife, to the

   21     company, correct?

   22     A    It was delivered to you and Signalife, yes.

   23     Q    To both of us?

   24     A    Yes.

   25     Q    How was it delivered, by e-mail?       In person?    By mail?
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 8181
                                                                              of 97


    1     A    No, I e-mailed it to you and to Ms. Bunes.

    2     Q    In the same e-mail?

    3     A    I believe so, yes.

    4     Q    Do you recall what year that was in?

    5     A    2006, I believe, although I could be wrong.         Maybe 2005.

    6     Q    Could you now read paragraph 5.

    7     A    "Mr. Sharma can, parentheses, or has the potential to help

    8     Signalife, Inc. within India by making introductions to

    9     Indian-based or U.S.-based pharmaceutical companies and/or

   10     companies that are involved in clinical testing various

   11     pharmaceuticals within India."

   12     Q    And that statement was also true in your mind at the time

   13     you made it?

   14     A    Yes.

   15     Q    Now read paragraph 6, please.

   16     A    "Signalife, Inc.'s opportunity within India is very strong

   17     in that the environment for pharmaceutical companies is to

   18     further their research within the cardiovascular testing space

   19     for their drugs and by Signalife, Inc.         Developing a fertile

   20     platform to do so would make Signalife a leader in capturing

   21     this market."

   22     Q    Do you believe that statement was true at the time you

   23     made it?

   24     A    Yes.

   25     Q    Did Mr. Singh ever respond to this status update with any
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 8282
                                                                              of 97


    1     disagreement about your statements here?

    2     A    I don't know if this document was sent to Mr. Singh.          It

    3     was sent to you and Ms. Bunes, I believe.

    4     Q    Did you ever see a response from Mr. Singh disagreeing

    5     with the document?

    6     A    I don't recall seeing a response.

    7     Q    Did you ever see a response from Ms. Bunes in any way,

    8     shape, or form with regard to this document?

    9     A    Not that I recall.

   10     Q    Did you ever see a response from me with regard to this

   11     document?

   12     A    Not that I recall.

   13     Q    Thank you.

   14                THE COURT:    Mr. Stein, since you're finished with

   15     that document, why don't we recess for the evening; or are you

   16     not finished with that document?        We're almost at

   17     5:00 o'clock, so I'm just trying to --

   18                MR. STEIN:    One question.

   19                THE COURT:    Okay, go ahead.

   20                MR. STEIN:    About the document, and then I'll be

   21     finished with the document.

   22    BY MR. STEIN:

   23     Q    Paragraph 7 says:     "Signalife can access this opportunity

   24     by establishing a team to go to India and develop this

   25     platform for the company's launch within this space.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 8383
                                                                              of 97


    1     Signalife would need to send this team to India to set up a

    2     product launch and set up monitoring centers that assist in

    3     further developing this platform."

    4                  You remember saying that?

    5     A     I remember writing that in the document, yes.

    6     Q     And that was true in your mind as to your strategy?

    7     A     Yes.

    8     Q     And then you said, "The Silve Group would develop and

    9     establish a business venture in India to further the

   10     preliminary discussions that Dr.~Harmison, Mr. Singh, and I

   11     have already discussed.      The Silve Group has already

   12     established certain contacts within Banglore's Technology hub

   13     to set up a monitoring center and educate any new staff.

   14                  "Additionally, the Silve Group has already

   15     established numerous contacts within the medical industry to

   16     launch the product within India in an effort to either boost

   17     sales and/or clinical testing."

   18                  That was also true at the time you wrote it, wasn't

   19     it?

   20     A     Potentially true, yes.

   21     Q     Let's not waffle.

   22     A     Well, let me fully answer the question.

   23     Q     Please.

   24     A     These things are all predicated on a device that works.

   25     Q     And had you ever visited the laboratory of Signalife at
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 8484
                                                                              of 97


    1     any time?

    2     A    Yes.

    3     Q    And did you see the device at issue?        Was it demonstrated

    4     to you?

    5     A    When I demonstrated the laboratory, it was too early.           The

    6     device wasn't completed.

    7     Q    Did -- given that you were getting paid what you were

    8     getting paid, did you ever have an opportunity to go to any of

    9     the American Heart Association shows in which the device was

   10     being demonstrated on treadmills?

   11     A    I was getting paid by you daily, and one of my partners

   12     who worked for Silve Group, Demetrio Sodi, did attend some of

   13     those events.     Yes, he did on behalf of the Silve Group.

   14                 MR. STEIN:   Nothing further for today, Your Honor.

   15                 THE COURT:   All right.    Thank you.

   16                 MR. STEIN:   Thank you.

   17                 THE COURT:   All right.    Ladies and gentlemen, again,

   18     thank you for your cooperation.        Please be back tomorrow at

   19     9:00.   And, remember, we're going to go straight through 'til

   20     1:00 o'clock, and after that, we'll be finished for the week.

   21     Thank you, have a nice evening.

   22          (The jury exits the courtroom.)

   23                 THE COURT:   All right.    Sir, don't discuss your

   24     testimony during the recess, and we'll see you tomorrow

   25     morning at 9:00.     Thank you.
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 8585
                                                                              of 97


    1                Anything else we need to talk about?

    2                MR. STIEGLITZ:      Not from the United States, Your

    3     Honor.

    4                MR. STEIN:    No.

    5                THE COURT:    Let's go off the record.

    6          (The evening recess was taken at 5:02 p.m.)

    7                                    * * * * *

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Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 8686
                                                                              of 97


    1                                   * * * * *

    2                                   I N D E X

    3    Testimony of Ajay Anand

    4                Direct by Mr. Muhlendorf                      2

    5                Cross by Mr. Stein                            64

    6                                   * * * * *

    7                                E X H I B I T S

    8    Government's Exhibits in Evidence:

    9                Government's 228, 312, 26, 33, 313,

   10    43, 207, 310, 53, 52, 49, 50, 59, 342, 61

   11    and 94                                                    15

   12                Government's 314                              40

   13    Defendant's Exhibits in Evidence:

   14                Defendant's 54                                74

   15                                   * * * * *

   16                                  CERTIFICATE

   17          I, Stephen W. Franklin, Registered Merit Reporter, and

   18     Certified Realtime Reporter, certify that the foregoing is a

   19     correct transcript from the record of proceedings in the

   20     above-entitled matter.

   21          Dated this 16th day of MAY, 2013.

   22

   23          /s/Stephen W. Franklin
               _____________________________
   24          Stephen W. Franklin, RMR, CRR

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Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 87 of 97 87
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    $1.98 [1] 53/11                              2002 [4] 70/4 70/7 70/12 72/21                52 [5] 15/8 15/14 31/9 31/10 86/10
    $1.98 million [1] 53/11                      2003 [1] 71/3                                 53 [7] 15/8 15/14 30/22 30/23 31/18 32/8
    $10 [2] 50/14 50/18                          2004 [2] 13/17 14/10                          86/10
    $10 billion [2] 50/14 50/18                  2005 [4] 14/17 19/20 19/23 81/5               54 [7] 74/15 74/16 74/19 74/23 74/25 75/3
    $10,000 [1] 41/13                            2006 [13] 4/8 16/17 16/19 19/21 19/23 21/20   86/14
    $175,000 [1] 23/17                            21/21 21/25 23/1 24/2 24/24 71/2 81/5        561 [1] 1/23
    $2,550,000 [1] 52/17                         2007 [35]                                     59 [5] 15/8 15/14 36/21 36/23 86/10
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    $20 [1] 51/22                                 60/4 60/5                                    5:02 [1] 85/6
    $20 million [1] 51/22                        2009 [6] 32/5 38/16 51/23 52/18 56/24 61/22
    $250,000 [1] 6/18                            2010 [1] 65/12                                6
    $28,500 [5] 36/25 37/4 37/9 38/13 38/21      2013 [3] 1/8 9/25 86/21                       61 [5] 15/8 15/14 49/4 49/8 86/10
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    $50,000 [1] 10/24                            228 [4] 1/21 15/7 15/13 86/9                  72 [2] 65/19 65/21
    $5200 [3] 41/1 41/2 41/8                     22nd [3] 35/23 35/23 65/12                    73 [6] 46/2 46/3 46/5 53/4 65/11 65/20
    $560,000 [1] 52/14                           23 [1] 56/25                                  74 [3] 54/15 54/18 86/14
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    56/18                                        24 [2] 50/15 53/16                            78 [2] 55/13 55/14
    $75,000 [1] 24/13                            25,000 [1] 71/4                               7976 [2] 36/5 36/6
    $750,000 [1] 52/15                           26 [5] 15/7 15/13 21/5 21/6 86/9              7th [2] 30/25 31/12
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    10-Q [1] 53/4                                337 [1] 38/16                                 accounting [2] 33/1 33/4
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Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 88 of 97 88
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    AJAY [18] 1/10 2/7 2/10 2/16 11/14 11/14          63/1                                          block [5] 22/6 22/11 71/1 71/23 72/8
    16/23 21/13 25/23 27/3 29/8 29/10 30/24          association [2] 12/7 84/9                      blocks [6] 70/9 70/12 70/15 70/18 70/20
    32/17 37/1 73/15 74/6 86/3                       assume [1] 63/21                               70/21
    Albert [1] 1/15                                  assuming [1] 54/10                             blow [3] 29/2 35/25 39/11
    alleged [1] 67/2                                 assuring [1] 72/1                              board [1] 50/13
    allow [1] 29/13                                  attached [3] 16/17 16/25 58/24                 book [1] 60/19
    allowance [2] 16/18 16/21                        attachment [1] 31/1                            boost [1] 83/16
    almost [1] 82/16                                 attend [4] 12/16 20/9 25/15 84/12              both [9] 2/15 12/5 15/18 28/21 42/3 57/14
    already [10] 29/9 47/20 53/18 67/12 67/13        attended [3] 20/3 20/8 20/10                   59/23 60/16 80/23
    69/12 74/17 83/11 83/11 83/14                    attention [4] 33/17 35/24 50/8 54/3            bottom [1] 59/15
    also [13] 12/14 14/6 18/7 35/15 36/19 39/4       attested [2] 55/25 56/15                       bought [3] 71/1 71/4 72/21
    49/21 76/3 78/11 78/19 79/18 81/12 83/18         attorney [2] 49/11 55/16                       break [1] 63/7
    although [1] 81/5                                attorney/client [2] 49/11 55/16                Bridge [5] 21/4 21/9 21/12 21/14 69/5
    am [3] 6/16 16/23 60/11                          attract [3] 13/3 20/6 20/19                    briefly [1] 3/5
    ambulatory [1] 78/15                             attributed [2] 45/24 57/14                     bring [5] 39/7 39/9 40/11 56/3 63/19
    AMERICA [5] 1/3 36/4 40/17 50/15 50/16           Audio [5] 32/7 38/18 39/22 39/25 61/24         broker's [1] 22/16
    American [2] 9/14 84/9                           audit [1] 49/10                                brokerage [1] 28/12
    amount [7] 36/5 36/25 41/1 44/23 48/6 48/13      auditors [1] 49/22                             brother [1] 79/13
    77/20                                            August [2] 49/10 71/3                          brother-in-law [1] 79/13
    ANAND [47]                                       August 14th [1] 71/3                           Bunes [25] 12/21 13/10 13/11 13/16 13/20
    and/or [2] 81/9 83/17                            August 9th [1] 49/10                           14/11 14/14 17/23 19/20 20/3 20/9 20/11
    Angeles [3] 5/16 7/19 71/20                      available [2] 11/14 22/5                       25/21 28/23 29/4 30/13 42/2 75/15 75/15
    another [8] 24/8 29/20 38/16 56/23 60/5 60/7     Avenue [1] 1/17                                77/8 78/23 79/4 81/1 82/3 82/7
    67/18 80/1                                       aware [11] 19/14 28/14 32/1 32/15 32/17        business [3] 9/11 21/6 83/9
    answer [7] 45/7 63/3 65/24 66/8 67/22 74/6        33/12 38/24 53/14 53/21 64/14 65/23           buy [5] 10/13 22/6 22/11 26/15 72/15
    83/22                                            away [1] 43/17
    answered [2] 65/23 73/23                                                                        C
    answers [1] 57/2                                 B                                              cables [1] 54/20
    any [54]                                         back [17] 2/2 4/24 8/18 22/13 23/18 32/8       Cal [1] 3/4
    anybody [2] 42/13 42/20                          37/18 42/15 45/10 45/12 58/21 60/10 62/13      Calabasas [2] 10/20 41/21
    anyone [2] 5/23 8/20                             63/9 64/2 68/12 84/18                          California [3] 2/25 5/16 76/3
    anyone's [1] 69/9                                background [3] 3/1 3/3 69/23                   called [15] 4/16 5/2 9/10 18/23 22/13 22/21
    anything [14] 7/9 11/4 11/11 13/4 22/3 26/7      balance [1] 47/7                                25/10 32/25 41/25 44/4 68/13 69/5 69/24
    34/19 44/10 55/6 56/10 56/14 56/17 65/4          Banglore's [1] 83/12                            69/25 77/1
    85/1                                             bank [7] 35/11 35/22 36/4 36/10 39/2 40/17     calls [8] 2/6 8/11 12/12 12/13 51/21 77/6
    anyway [1] 58/15                                 40/17                                           77/10 77/18
    aol.com [1] 1/25                                 bargain [1] 76/23                              came [4] 23/8 26/21 26/22 35/7
    apart [1] 33/18                                  based [10] 7/15 44/4 52/12 75/10 76/8 78/7     can't [1] 79/6
    apologize [4] 29/1 29/24 47/9 47/12              78/9 79/16 81/9 81/9                           canceled [4] 28/6 60/8 60/17 72/25
    appear [2] 29/19 33/17                           Baxter [1] 80/9                                cancellation [1] 59/15
    Appearances [1] 1/14                             Beach [4] 1/7 1/19 1/24 77/9                   candidly [1] 7/8
    appears [2] 33/8 54/25                           became [2] 11/8 27/1                           cannot [2] 30/8 30/8
    appointment [1] 51/20                            because [16] 6/13 11/9 21/18 22/7 27/6 27/22   Capital [3] 69/5 69/6 69/7
    approach [4] 16/7 73/2 74/12 80/15               37/16 39/13 41/15 57/22 61/17 66/23 67/7       capturing [1] 81/20
    approached [1] 22/3                              67/12 70/23 72/13                              cardiac [2] 78/15 80/16
    appropriate [2] 49/19 72/8                       become [6] 3/12 3/20 9/16 25/2 26/25 32/1      cardiovascular [1] 81/18
    approval [1] 50/13                               before [11] 1/12 8/5 42/16 46/11 63/7 64/20    care [8] 34/22 34/24 35/2 35/4 35/9 36/13
    approximately [14] 9/21 9/24 18/18 23/17         64/23 67/22 67/23 71/10 73/8                    37/22 38/1
    24/19 28/7 31/19 34/9 37/24 50/14 51/21          begin [1] 63/7                                 careful [1] 47/10
    71/21 76/2 76/13                                 beginning [3] 27/4 70/10 72/2                  Carlton [1] 76/5
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 89 of 97 89
                                                confused [2] 29/11 70/17                        42/17
    C                                           confusion [2] 29/14 29/14                       dealings [5] 4/10 8/7 27/6 30/10 62/1
    case [6] 1/2 63/9 68/1 68/3 68/5 68/7       connect [1] 10/10                               December [4] 32/5 52/15 56/24 61/22
    cash [11] 19/6 19/10 22/3 34/22 35/15 37/19 connected [2] 10/4 45/20                        December 18th [3] 32/5 56/24 61/22
     39/4 39/7 39/10 39/10 40/12                connection [2] 11/15 33/3                       decide [2] 7/18 7/22
    cashed [1] 18/21                            constantly [1] 27/22                            deducted [1] 56/2
    CC [1] 30/3                                 consultant [1] 21/9                             deem [1] 49/18
    center [1] 83/13                            consulted [1] 71/15                             DEFENDANT [5] 1/7 1/18 4/4 4/10 9/8
    centers [2] 76/10 83/2                      consulting [6] 3/8 3/9 21/6 71/18 71/24 78/1    Defendant's [2] 86/13 86/14
    CEO [7] 13/19 13/21 14/2 14/14 28/22 29/20 contact [9] 4/14 17/20 32/19 32/21 51/3 51/9     defense [2] 74/16 74/23
     29/22                                       57/8 61/12 79/12                               degree [2] 3/4 58/5
    CEOs [3] 13/4 28/19 28/20                   contacted [2] 4/11 14/20                        delivered [3] 80/20 80/22 80/25
    certain [3] 41/10 58/5 83/12                contacts [4] 20/21 51/17 83/12 83/15            Demetrio [9] 25/12 25/25 26/5 29/7 29/10
    certainly [2] 56/1 75/20                    contains [1] 17/2                               29/23 30/3 30/5 84/12
    certificate [4] 16/25 22/16 72/22 86/16     contest [1] 64/16                               Demetrio's [1] 29/14
    Certified [1] 86/18                         context [1] 31/2                                demonstrated [3] 84/3 84/5 84/10
    certify [1] 86/18                           contract [9] 17/21 29/7 29/11 62/13 62/14       demonstrations [1] 51/18
    cetera [1] 76/14                             62/17 72/24 77/25 78/19                        Department [2] 1/16 77/4
    CFO [5] 50/2 51/13 51/14 52/10 52/23        contracts [1] 11/21                             deposit [1] 19/11
    chair [1] 2/12                              contractual [1] 29/12                           deposited [2] 18/25 28/11
    chairman [2] 76/6 79/13                     controlling [1] 30/14                           deposition [3] 66/15 67/16 67/21
    chance [2] 46/10 53/7                       conversation [1] 57/12                          designated [1] 21/3
    change [1] 59/16                            convert [1] 19/9                                detail [2] 4/7 17/5
    charged [1] 7/5                             converted [1] 22/18                             determine [1] 25/24
    charges [1] 7/2                             convey [1] 48/24                                develop [7] 76/9 76/10 78/12 78/13 80/14
    Charles [2] 1/20 1/21                       conveyed [8] 47/22 49/2 50/17 52/1 52/3         82/24 83/8
    check [10] 36/24 36/25 37/2 37/3 37/11       52/23 53/2 55/9                                developed [1] 17/16
     37/12 37/21 38/6 38/20 39/3                cooperate [1] 6/24                              developing [2] 81/19 83/3
    checks [3] 34/23 35/13 36/19                cooperation [3] 7/12 7/14 84/18                 developments [2] 33/24 33/25
    city [2] 2/24 51/19                         copies [2] 16/2 16/5                            device [7] 16/22 18/6 26/20 83/24 84/3 84/6
    clear [4] 9/25 11/10 11/18 27/5             core [1] 49/10                                  84/9
    Clematis [1] 1/24                           corporation [1] 4/25                            DHL [1] 22/14
    client [3] 38/9 49/11 55/16                 correct [24] 7/25 10/5 10/6 11/22 17/23         didn't [21] 11/10 20/18 27/3 27/6 27/23 31/4
    clients [2] 38/11 38/13                      34/10 34/11 36/19 39/17 50/5 52/20 52/21       42/18 43/17 43/18 57/21 57/24 57/24 58/14
    clinical [4] 76/9 80/11 81/10 83/17          53/18 70/7 70/8 70/10 71/14 72/9 75/1 75/3     58/21 59/7 59/8 66/21 67/16 69/14 73/24
    clinically [1] 78/12                         75/24 78/20 80/21 86/19                        74/1
    clip [8] 32/6 38/16 38/17 39/13 56/23 56/25 couldn't [1] 42/2                               different [3] 67/7 67/9 67/22
     61/21 61/23                                counsel [9] 10/8 13/8 20/14 31/14 51/13         dinner [1] 76/3
    clips [1] 66/2                               55/18 56/20 66/11 73/3                         Diplomat [1] 25/13
    close [3] 9/22 51/22 52/5                   couple [4] 22/12 51/16 52/19 61/10              direct [6] 2/20 35/24 49/21 55/24 56/14 86/4
    closer [1] 28/8                             course [4] 3/11 8/7 28/3 34/14                  directing [2] 29/19 29/22
    co [2] 77/25 78/4                           court [7] 1/1 1/23 4/19 40/6 47/9 67/6 67/9     direction [4] 29/17 41/12 59/11 59/22
    co-CTO [2] 77/25 78/4                       courtroom [3] 63/12 63/25 84/22                 directions [2] 28/18 41/9
    coming [4] 42/1 53/8 53/22 60/6             cover [1] 68/6                                  directly [3] 67/8 69/19 70/6
    commands [1] 30/11                          covered [1] 68/2                                disagreeing [1] 82/4
    comment [1] 79/6                            CPE [1] 1/23                                    disagreement [1] 82/1
    commercialization [1] 29/5                  CR [1] 1/2                                      disclosure [1] 21/19
    commission [8] 4/12 4/15 4/16 5/2 5/13 6/4 create [4] 58/17 58/20 58/23 59/25               discuss [8] 15/1 17/5 43/20 62/1 62/5 63/9
     47/3 75/1                                  created [4] 59/10 59/12 59/13 59/21             63/14 84/23
    commissions [4] 46/15 47/20 48/8 48/9       credibility [2] 66/23 67/13                     discussed [3] 17/2 17/3 83/11
    committee [1] 49/11                         credits [2] 7/12 7/14                           discussing [3] 27/12 43/19 80/19
    common [1] 46/24                            crime [2] 6/9 6/12                              discussion [5] 42/19 43/24 43/25 50/7 78/9
    communication [1] 51/6                      crimes [1] 6/4                                  discussions [4] 23/15 78/8 80/8 83/10
    communications [2] 71/19 75/18              Criminal [1] 1/16                               distribution [2] 65/13 66/4
    companies [13] 3/8 3/10 3/11 69/8 71/18     cross [4] 63/7 64/6 64/8 86/5                   DISTRICT [3] 1/1 1/1 1/13
     78/14 79/16 79/21 80/5 80/7 81/9 81/10     cross-examination [2] 63/7 64/8                 Diversified [1] 11/8
     81/17                                      cross-examine [1] 64/6                          Division [1] 1/16
    company [56]                                CRR [2] 1/23 86/24                              Dobieco [4] 30/3 49/9 49/12 55/15
    company's [1] 82/25                         CTO [3] 77/25 78/3 78/4                         doc [2] 16/18 31/2
    compensated [4] 20/23 21/1 22/2 26/13                                                       doctors [1] 78/13
    compensation [1] 20/16                      D                                               document [18] 17/4 21/7 22/25 27/17 49/16
    completed [1] 84/6                          daily [3] 33/23 72/16 84/11                     73/8 73/10 75/6 80/20 82/2 82/5 82/8 82/11
    comply [1] 64/13                            Dairy [1] 1/21                                  82/15 82/16 82/20 82/21 83/5
    compounds [3] 78/15 79/15 80/15             date [8] 20/4 24/23 30/2 37/2 37/3 40/20 55/1   documents [4] 8/3 21/19 27/23 76/23
    computer [1] 68/18                           55/2                                           does [16] 12/9 16/2 16/3 16/20 29/11 29/19
    concerned [1] 17/5                          dated [12] 16/17 24/1 25/22 29/5 30/4 30/25     31/15 31/20 46/25 64/24 65/1 68/17 73/11
    concluded [1] 68/10                          31/12 35/22 49/9 55/15 65/11 86/21             75/13 76/16 76/18
    conference [5] 8/11 12/12 12/13 68/10 77/16 days [2] 22/12 55/1                             doesn't [5] 2/12 43/10 43/11 45/7 64/22
    confidential [1] 16/17                      DC [2] 1/17 18/7                                doing [13] 3/7 8/25 9/11 31/6 42/24 43/24
    confine [1] 67/25                           deal [8] 11/7 11/11 27/7 29/9 35/6 35/8 36/17   56/4 60/11 66/14 70/15 70/25 75/10 80/17
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 90 of 97 90
                                                  entity [13] 3/12 3/20 4/22 21/3 21/14 21/15    expects [2] 47/14 47/18
    D                                              22/20 22/21 26/19 26/25 27/1 65/16 66/7       expenses [1] 56/2
    DOJ [2] 76/18 76/22                           entry [7] 35/24 36/1 40/19 40/23 40/25 53/16   explain [6] 26/10 30/1 33/15 42/11 43/23
    dollar [2] 23/13 41/10                         53/17                                          58/11
    dollars [5] 9/22 22/8 22/12 24/3 37/24        envelope [1] 44/1                              exposure [2] 11/19 12/14
    don't [44]                                    environment [1] 81/17                          express [1] 33/25
    done [1] 80/11                                equating [1] 53/21                             extent [1] 49/22
    dot [1] 31/16                                 equity [1] 47/4
    doubt [2] 30/14 61/19                         Eric [1] 39/14                                 F
    down [7] 42/3 47/11 50/3 50/7 63/13 70/23     ESQ [3] 1/15 1/15 1/20                         face [2] 11/13 11/14
     78/6                                         establish [2] 26/19 83/9                       facing [1] 6/17
    Dr [14] 18/6 41/18 42/1 42/3 42/5 50/17 51/6 established [4] 4/25 67/13 83/12 83/15          facsimile [1] 76/14
     51/7 51/8 51/20 56/17 59/23 62/20 83/10      establishing [1] 82/24                         facsimiles [1] 77/3
    Dr. [4] 50/9 62/2 62/5 76/6                   estimates [2] 52/11 52/22                      fact [4] 42/5 48/1 58/1 80/9
    Dr. Drakulic [2] 62/2 62/5                    et [1] 76/14                                   facts [3] 64/16 64/19 67/2
    Dr. Harmison [1] 50/9                         et cetera [1] 76/14                            fail [1] 8/2
    Dr. Lowell [1] 76/6                           Europe [1] 50/16                               fair [3] 11/21 34/8 72/1
    draft [2] 16/17 60/22                         evaluation [1] 52/12                           fake [2] 39/3 57/18
    drafts [1] 50/4                               even [5] 36/10 42/16 42/16 43/10 52/5          fall [3] 45/19 45/22 72/12
    Drakulic [2] 62/2 62/5                        evening [5] 41/3 42/4 82/15 84/21 85/6         fallout [1] 80/9
    draw [3] 33/16 50/8 54/3                      event [3] 17/11 56/5 56/6                      false [7] 48/22 50/21 51/10 51/11 56/21
    Drive [1] 1/19                                events [3] 53/25 54/4 84/13                     64/24 65/9
    driver [1] 45/16                              eventually [2] 4/2 9/16                        familiar [5] 3/12 3/20 6/14 44/19 68/13
    driving [1] 62/14                             ever [26] 4/11 28/18 34/3 34/19 38/7 44/8      February [3] 29/5 30/4 35/23
    drug [1] 80/10                                 47/21 47/24 48/19 48/24 50/17 52/1 52/3       February 21st [1] 30/4
    drugs [3] 80/10 80/11 81/19                    53/2 55/9 56/17 62/20 62/22 73/8 73/17        February 22nd [1] 35/23
    duration [1] 76/1                              81/25 82/4 82/7 82/10 83/25 84/8              February 3rd [1] 29/5
    during [9] 6/13 8/7 28/14 34/12 34/14 46/22 everyone [2] 2/3 64/2                            feel [1] 37/21
     51/20 63/14 84/24                            everything [1] 76/21                           feels [2] 78/10 78/11
    duties [2] 65/15 66/6                         evidence [13] 15/5 15/15 39/23 40/2 40/5       fees [4] 37/7 38/6 38/7 39/4
                                                   73/5 74/10 74/16 74/17 74/18 74/23 86/8       felt [2] 22/7 72/8
    E                                              86/13                                         fertile [2] 78/12 81/19
    e-mail [26] 1/25 16/16 17/6 17/18 25/21       exact [1] 20/4                                 few [6] 20/19 35/17 55/1 77/9 77/11 77/11
     25/23 29/4 29/19 30/1 30/24 31/2 31/4 31/11 exactly [1] 64/22                               Fidelity [6] 17/14 17/15 17/16 26/20 54/9
     32/11 49/9 49/19 50/3 51/8 55/15 56/7 58/18 examination [3] 2/20 63/7 64/8                   54/20
     58/24 76/14 77/19 80/25 81/2                 examine [1] 64/6                               field [1] 71/11
    e-mailed [1] 81/1                             example [1] 72/21                              Fifty [1] 74/21
    e-mails [2] 76/15 76/22                       Exchange [8] 4/12 4/15 4/16 5/2 5/13 6/3       Fifty-four [1] 74/21
    E-Medsoft [4] 9/16 9/18 9/23 11/7              9/14 74/25                                    fight [2] 14/1 14/2
    E-Trade [1] 36/24                             excuse [4] 17/12 56/12 59/16 65/11             file [2] 16/17 58/24
    each [2] 24/13 33/16                          executed [1] 24/3                              filing [1] 48/22
    earlier [1] 26/18                             exercise [1] 54/10                             filings [4] 45/20 57/7 57/8 57/19
    early [5] 19/21 25/10 58/9 58/12 84/5         exhibit [66]                                   filled [1] 48/7
    earned [1] 47/3                               exhibit 151 [2] 60/19 60/20                    finally [1] 23/15
    ECG [1] 17/17                                 exhibit 26 [2] 21/5 21/6                       finance [3] 23/8 54/9 71/1
    economics [1] 3/4                             exhibit 30 [2] 22/22 22/25                     Financial [4] 71/13 71/16 71/17 71/20
    edits [1] 49/18                               exhibit 307 [1] 28/25                          fine [3] 6/18 33/7 47/9
    educate [1] 83/13                             exhibit 310 [1] 29/24                          finish [3] 42/2 42/2 56/5
    educational [1] 3/3                           exhibit 312 [3] 15/25 16/12 16/15              finished [4] 82/14 82/16 82/21 84/20
    effect [1] 58/13                              exhibit 313 [2] 25/19 25/20                    Fink [5] 13/20 13/22 13/25 14/1 14/3
    effort [2] 12/13 83/16                        exhibit 314 [2] 39/11 39/21                    firm [1] 71/18
    eight [3] 19/3 31/19 61/17                    exhibit 33 [5] 23/24 23/25 24/7 24/14 24/22    first [21] 2/15 4/14 6/11 9/8 10/3 33/17 35/20
    either [2] 74/6 83/16                         exhibit 342 [1] 40/13                           44/1 45/6 46/21 49/16 51/16 51/19 51/23
    else [3] 23/19 68/4 85/1                      exhibit 353 [1] 73/7                            52/15 52/17 53/10 58/21 62/4 71/1 72/21
    emerging [1] 47/8                             exhibit 43 [3] 27/8 27/9 27/9                  Fish [1] 10/20
    emphasized [2] 27/22 28/21                    exhibit 49 [2] 32/23 32/24                     fit [2] 17/4 78/10
    employee [1] 62/22                            exhibit 50 [2] 35/17 35/20                     five [3] 6/18 30/12 51/7
    employment [1] 3/6                            exhibit 52 [2] 31/9 31/10                      FL [2] 1/19 1/22
    end [4] 51/23 60/7 60/10 60/18                exhibit 53 [4] 30/22 30/23 31/18 32/8          Flagler [1] 1/19
    ended [2] 19/21 70/22                         exhibit 54 [4] 74/15 74/16 74/25 75/3          flew [1] 25/11
    ending [3] 36/5 46/7 46/22                    exhibit 59 [2] 36/21 36/23                     flip [1] 24/7
    engage [2] 8/18 26/15                         exhibit 61 [2] 49/4 49/8                       FLORIDA [6] 1/1 1/7 1/24 25/11 25/11
    engineer [2] 14/25 78/5                       exhibit 70 [4] 44/12 44/14 44/15 44/17          25/14
    enough [3] 30/8 30/9 75/20                    exhibit 73 [4] 46/2 46/3 46/5 53/4             flown [1] 76/3
    enter [1] 6/8                                 exhibit 74 [2] 54/15 54/18                     focus [1] 76/9
    entered [3] 15/14 40/5 74/23                  exhibit 78 [2] 55/13 55/14                     following [5] 43/25 49/19 63/16 63/25 66/13
    enters [1] 63/25                              exhibit 94 [1] 59/9                            follows [1] 50/9
    entities [2] 18/23 22/19                      exhibits [4] 15/5 15/13 86/8 86/13             foolishly [2] 58/23 60/15
    entitle [1] 37/9                              existed [1] 69/12                              force [2] 47/8 62/14
    entitled [6] 21/6 46/14 48/7 53/5 55/20 86/20 exits [2] 63/12 84/22                          foregoing [1] 86/18
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 91 of 97 91
                                                  happen [1] 5/15                                 26/20 68/17 75/10 76/7 76/10 78/11 79/12
    F                                             happened [8] 11/3 13/25 14/2 43/23 57/17        79/14 80/15 81/8 81/11 81/16 82/24 83/1
    forgot [1] 66/16                               58/11 59/13 59/14                              83/9 83/16
    form [4] 46/6 48/25 63/10 82/8                happens [2] 7/1 7/3                            Indian [5] 16/18 17/2 18/9 78/10 81/9
    formed [2] 69/8 69/11                         hard [3] 15/19 16/2 16/5                       Indian-based [1] 81/9
    forward [6] 2/12 2/13 11/4 11/11 12/1 15/23 Harmison [21] 18/6 41/18 42/1 42/1 42/3          Indiana [1] 43/11
    four [2] 74/21 77/11                           42/5 50/9 50/17 50/25 51/6 51/7 51/8 55/25    indicate [2] 33/8 67/16
    Fourth [1] 52/17                               56/15 56/17 59/23 60/16 61/6 62/20 76/6       indicated [5] 26/14 69/23 72/18 78/17 78/19
    Franklin [4] 1/23 86/17 86/23 86/24            83/10                                         indicative [1] 39/9
    frantic [1] 60/6                              Harmison's [1] 51/20                           indictment [4] 67/2 67/9 67/18 68/7
    friends [1] 72/4                              haven't [1] 73/9                               indirectly [1] 69/19
    front [2] 16/12 46/19                         having [5] 15/19 16/8 52/22 57/18 69/11        individual [1] 75/14
    fully [2] 47/4 83/22                          he'll [1] 67/23                                industry [1] 83/15
    function [1] 50/25                            he's [4] 49/24 66/24 67/12 68/5                information [5] 47/22 48/24 49/2 53/2 64/22
    fund [2] 12/5 16/21                           healthcare [20] 44/4 44/8 44/10 44/19 44/21    initial [3] 19/19 77/8 77/15
    funds [2] 36/14 41/4                           44/22 45/4 48/11 54/19 56/3 57/3 57/7 57/7    initially [2] 19/7 42/13
    further [5] 76/10 81/18 83/3 83/9 84/14        58/7 58/18 58/25 59/1 59/24 60/8 61/8         initiative [7] 17/2 18/10 33/3 50/11 50/12
    future [1] 47/3                               hear [6] 2/4 40/7 58/9 58/22 60/13 60/13        51/1 75/10
                                                  heard [4] 44/8 45/25 58/6 66/2                 initiatives [1] 50/16
    G                                             hearing [1] 15/19                              inquire [1] 42/25
    G-u-l-a-t-i [1] 4/20                          heart [5] 3/17 27/5 72/3 80/12 84/9            inroads [2] 18/5 22/2
    gain [1] 12/14                                hedge [1] 12/5                                 inside [1] 44/3
    Garu [3] 18/24 18/24 78/2                     held [1] 66/13                                 instead [1] 21/16
    gave [10] 18/25 23/22 36/11 36/13 41/3 41/4 help [2] 46/8 81/7                               institutional [1] 72/14
     60/25 61/1 67/22 77/13                       here [15] 7/8 7/16 9/8 9/25 16/23 16/23 29/1   institutions [1] 12/12
    general [5] 10/8 13/8 18/12 20/14 31/14        31/21 46/20 52/11 54/3 63/9 65/9 79/7 82/1    instruction [1] 24/1
    generate [1] 42/23                            hereto [1] 16/25                               instructions [5] 22/17 23/20 23/21 23/22
    generated [1] 47/18                           hidden [1] 11/24                                24/2
    gentleman [2] 3/23 25/12                      high [1] 72/15                                 instruments [1] 47/5
    gentlemen [3] 2/2 63/8 84/17                  highly [1] 53/13                               intelligently [1] 8/19
    gets [1] 29/10                                Hildebrandt [1] 75/16                          intends [1] 51/22
    getting [7] 17/9 22/2 29/9 33/12 84/7 84/8    himself [2] 19/1 19/13                         interact [2] 25/6 30/8
     84/11                                        hire [1] 14/14                                 interacting [1] 80/5
    give [6] 36/12 39/2 39/4 41/9 56/6 59/1       hired [2] 14/25 75/14                          interaction [4] 25/4 25/5 79/6 79/7
    given [4] 21/2 23/21 48/19 84/7               history [1] 3/6                                interfaced [1] 76/13
    gives [1] 67/21                               Hollywood [1] 25/13                            interim [1] 46/22
    giving [2] 30/11 39/10                        home [2] 4/16 58/24                            international [5] 27/10 33/3 50/11 65/13
    goes [2] 66/23 66/24                          Honor [14] 2/6 15/4 16/7 40/1 63/18 64/7        66/4
    going [24] 4/6 7/18 7/22 11/4 11/11 13/20      66/9 67/3 73/2 73/23 74/12 74/20 84/14 85/3   internationally [3] 45/9 52/12 79/17
     14/7 22/8 32/4 34/3 34/17 35/18 37/19 38/15 HONORABLE [1] 1/12                              intra [1] 36/4
     50/18 61/21 62/13 63/20 63/21 67/19 69/22    hoping [4] 7/9 7/11 58/4 60/17                 intra-Bank [1] 36/4
     71/25 74/18 84/19                            hospital [1] 54/8                              introduced [5] 3/24 3/25 18/7 25/12 26/11
    goings [1] 61/15                              hospital/medical [1] 54/8                      introduction [2] 4/1 77/15
    good [6] 2/22 2/23 8/15 64/10 64/11 68/21     hour [1] 63/22                                 introductions [1] 81/8
    got [15] 9/7 10/4 11/9 15/4 18/21 25/23 29/25 hours [2] 31/18 31/19                          invest [4] 10/21 10/23 12/14 20/7
     31/1 33/15 34/9 35/6 38/6 42/16 58/12 60/3   House [1] 10/20                                invested [2] 10/24 70/6
    government [9] 1/4 1/15 2/6 2/10 7/22 15/13 hub [1] 83/12                                    investigated [1] 11/9
     40/5 66/2 69/22                              hundred [12] 22/8 22/11 22/16 23/16 24/2       investigation [1] 68/3
    Government's [3] 86/8 86/9 86/12               37/24 73/12 76/13 76/25 77/6 77/14 77/18      investing [4] 3/1 3/8 3/9 3/11
    GP [2] 21/4 21/9                                                                             investment [3] 10/14 70/18 71/11
    gravy [1] 58/4                                I                                              investor [2] 12/5 20/15
    great [1] 78/10                               I'd [3] 15/5 39/8 77/13                        investors [6] 8/17 12/13 13/3 20/6 20/20 22/1
    Greenville [1] 12/21                          I'll [5] 29/1 67/9 73/7 74/9 82/20             invoice [1] 33/1
    greeting [1] 50/5                             I'm [12] 19/21 65/21 65/23 67/12 67/16         involve [1] 4/2
    gross [1] 54/9                                 70/17 72/23 73/11 74/1 74/2 77/18 82/17       involved [19] 11/7 11/18 12/10 14/15 19/17
    ground [1] 78/12                              I've [6] 8/3 15/17 25/23 45/25 51/7 73/16       25/1 25/2 44/24 48/17 48/20 55/10 57/3 68/3
    group [88]                                    idea [5] 19/14 26/23 26/24 63/20 68/2           69/12 69/19 71/10 72/13 79/22 81/10
    Group's [2] 52/23 62/1                        identified [1] 51/21                           involvement [1] 72/3
    guaranteed [1] 22/15                          illegal [1] 9/6                                involves [1] 50/15
    guess [1] 67/19                               impeach [1] 67/23                              involving [3] 4/7 12/11 56/18
    guilty [5] 6/4 6/6 6/12 67/14 67/15           implement [1] 78/12                            Irvine [1] 2/25
    Gulati [14] 4/17 4/18 4/21 4/22 5/4 5/9 27/20 implementation [1] 76/9                        isn't [7] 61/2 71/3 71/23 73/22 75/1 75/3 77/7
     27/21 31/5 31/6 31/23 38/11 47/21 49/2       important [1] 77/22                            Israel [3] 58/19 58/25 59/5
                                                  imprisonment [1] 6/18                          issuance [2] 46/25 47/2
    H                                             Inc [2] 81/8 81/19                             issuances [2] 33/16 34/17
    hadn't [1] 58/2                               Inc.'s [1] 81/16                               issue [7] 34/1 42/11 43/20 57/11 60/3 61/8
    half [2] 28/6 63/21                           included [2] 19/19 76/5                         84/3
    hand [1] 2/8                                  including [2] 37/19 37/21                      issued [4] 33/9 34/6 46/23 47/4
    handwriting [7] 73/10 73/11 73/14 73/22       increase [1] 42/8                              issues [7] 7/24 42/7 47/8 67/1 67/8 67/17
     74/5 74/10 74/11                             India [22] 15/3 16/22 17/12 18/5 18/8 22/2      68/1
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 92 of 97 92
                                                learned [2] 57/6 57/18                         March 9th [1] 16/17
    I                                           lease [1] 54/9                                 Mark [1] 71/5
    it's [45]                                   least [1] 38/13                                marked [2] 73/7 74/15
    items [1] 63/10                             leave [1] 63/10                                market [18] 10/13 70/9 70/16 70/18 70/22
    itself [1] 11/24                            led [1] 42/19                                  70/23 71/19 71/24 71/25 72/1 72/4 72/9
    Ives [1] 1/21                               left [2] 39/19 40/20                           72/11 72/12 72/14 72/19 78/10 81/21
                                                legal [6] 37/7 37/8 38/6 38/7 38/11 39/3       marketing [1] 51/17
    J                                           legitimate [1] 43/15                           MARRA [3] 1/2 1/12 7/20
    January [5] 25/5 25/7 25/10 25/22 33/8      let [3] 25/19 42/15 83/22                      Marvin [2] 13/19 14/3
    January 18th [1] 33/8                       let's [29]                                     Maryland [1] 76/4
    January 2007 [1] 25/10                      letter [23] 22/16 24/1 30/6 58/18 58/20 58/23  matter [6] 43/10 43/12 45/7 59/7 59/8 86/20
    January 20th [1] 25/22                       58/25 59/10 59/12 59/13 59/19 59/20 59/21     matters [1] 67/17
    job [1] 30/6                                 59/24 60/8 60/11 60/15 60/22 60/23 61/2       May 1 [1] 65/11
    John [7] 31/11 49/9 49/18 49/21 55/15 55/17 61/3 61/4 61/5                                 May 23rd [2] 23/1 40/18
     56/20                                      level [1] 50/13                                May 29th [3] 40/19 40/20 40/23
    JPG [1] 31/16                               lie [5] 5/19 5/21 5/23 66/21 68/6              May 7th [2] 30/25 31/12
    judge [3] 1/13 7/19 7/20                    lied [8] 5/10 5/25 6/13 66/17 66/20 67/12      maybe [2] 67/23 81/5
    July [3] 19/20 37/3 65/12                    67/14 68/4                                    me [73]
    July 19th [1] 37/3                          lies [2] 6/3 67/24                             mean [3] 35/1 58/1 67/11
    July 22nd [1] 65/12                         line [16] 27/16 30/4 30/25 32/5 32/6 37/6      meaning [4] 33/2 70/4 77/11 77/11
    June [2] 24/2 40/18                          38/16 38/17 47/13 48/4 49/16 49/20 56/24      mechanics [2] 33/15 33/22
    June 20th [1] 24/2                           56/24 61/22 61/22                             Med [2] 11/8 12/6
    June 21st [1] 40/18                         line 1 [2] 56/24 61/22                         medallion [1] 22/15
    jurors [4] 15/19 16/8 40/8 63/19            line 10 [1] 61/22                              medical [2] 54/8 83/15
    jury [18] 1/11 3/5 12/19 18/14 20/1 21/24   line 12 [1] 56/24                              Medsoft [5] 9/16 9/18 9/23 11/7 69/24
     26/10 29/16 31/9 33/15 40/7 40/15 52/19    line 21 [1] 38/16                              Medtech [2] 9/10 9/11
     58/11 60/2 63/12 63/25 84/22               line 4 [1] 38/17                               meet [7] 9/8 14/23 15/1 25/11 39/8 42/3 42/5
    just [33]                                   line 7 [1] 32/6                                meeting [36]
    justice [6] 1/16 6/7 6/12 7/6 64/19 77/4    line 8 [1] 32/5                                meetings [15] 12/16 12/20 19/23 20/2 20/8
                                                lines [1] 32/5                                 20/10 20/18 20/19 20/24 49/22 76/2 76/8
    K                                           listing [1] 9/15                               76/8 78/8 78/9
    keep [4] 21/18 41/13 49/21 58/4             little [7] 4/6 9/7 12/1 33/7 42/15 50/3 70/17  member [1] 53/13
    keeping [1] 41/10                           live [1] 2/24                                  memo [1] 37/6
    Ken [4] 12/1 12/4 12/5 12/10                located [2] 76/7 79/14                         mention [1] 43/7
    KENNETH [1] 1/12                            logo [1] 59/20                                 mentioned [7] 10/4 13/11 26/17 35/10 36/19
    kept [1] 19/1                               Londoner [5] 12/2 12/4 12/5 12/17 12/23        39/16 79/22
    Keret [2] 59/4 60/25                        long [6] 9/23 10/1 19/2 19/17 63/20 67/16      Merit [1] 86/17
    Kevin [7] 1/15 49/18 49/21 49/23 49/25 50/4 looked [3] 31/17 32/11 41/8                    messages [3] 8/12 8/13 39/19
     50/5                                       looking [10] 4/17 5/3 7/9 16/6 29/7 35/21      met [13] 9/10 9/13 20/9 25/11 51/7 65/4
    King's [1] 10/20                             40/16 41/16 48/11 80/10                       69/24 71/10 71/15 71/20 75/20 76/1 76/4
    knew [7] 17/23 17/24 31/7 42/13 72/5 72/13 Los [3] 5/16 7/19 71/20                         methods [1] 35/10
     78/19                                      losing [1] 33/6                                Mexico [6] 17/12 26/15 34/13 51/19 52/11
    Knights [5] 21/3 21/9 21/12 21/14 69/4      lot [8] 17/3 35/7 37/16 37/17 42/17 58/1       56/3
    know [33]                                    62/19 77/14                                   Mi [1] 41/21
    knowledge [6] 48/2 56/16 61/14 75/4 79/18 low [1] 40/7                                     Miami [2] 1/22 25/22
     80/1                                       Lowell [2] 50/24 76/6                          microphone [2] 2/13 15/18
    known [4] 3/12 4/22 10/1 11/8               lucrative [1] 35/6                             microscopic [1] 29/1
    L                                           lying [3] 6/17 67/14 68/5                      mid [2] 50/14 50/19
                                                                                               might [1] 63/3
    L3 [1] 75/18                                   M                                           million [19] 9/22 17/2 17/10 18/18 18/18
    laboratory [2] 83/25 84/5                      Magnum [4] 71/13 71/15 71/17 71/20          28/5 28/5 28/7 28/8 33/10 34/9 34/19 44/23
    ladies [3] 2/2 63/8 84/17                      mail [31]                                   44/24 48/20 51/22 51/22 53/11 53/17
    lady [1] 34/7                                  mailed [1] 81/1                             million-plus [1] 18/18
    language [1] 60/23                             mails [2] 76/15 76/22                       mind [4] 30/14 61/19 81/12 83/6
    large [2] 79/15 79/21                          main [6] 8/15 32/19 61/12 72/12 76/11 79/12 Mine [1] 59/20
    largest [3] 13/8 20/15 56/3                    Mainly [1] 8/11                             minutes [1] 63/8
    last [11] 2/15 3/7 8/5 9/23 24/22 24/23 58/6   maintain [1] 78/14                          Mitch [9] 29/15 30/9 31/22 32/22 51/5 56/6
     58/22 59/24 60/1 60/11                        making [1] 81/8                             62/10 73/15 74/6
    lasted [1] 9/24                                manage [1] 50/25                            MITCHELL [19] 1/6 1/18 4/4 9/8 16/16
    late [2] 19/23 25/24                           Managed [2] 69/25 70/6                      17/19 17/22 25/21 29/4 30/3 30/24 31/11
    later [3] 60/3 60/4 60/4                       manager [1] 12/5                            36/9 36/25 49/15 61/13 61/18 62/16 62/18
    launch [3] 82/25 83/2 83/16                    managing [1] 51/9                           moment [1] 67/3
    law [2] 8/25 79/13                             manila [1] 44/1                             Monday [1] 31/12
    lawnmower [1] 43/11                            manufacturer [1] 79/14                      monetary [1] 47/6
    lawsuit [2] 14/6 14/8                          manufacturers [1] 80/14                     money [16] 9/18 18/9 23/18 24/4 24/5 35/8
    lawyer [3] 51/13 62/11 66/1                    March [5] 16/17 16/19 33/9 35/23 35/25      37/16 37/17 38/1 42/17 53/21 58/1 62/19
    leader [1] 81/20                               March 14th [1] 35/25                        62/20 62/22 62/25
    leads [1] 26/14                                March 20th [1] 33/9                         monitor [1] 17/17
    lean [3] 2/12 2/13 15/23                       March 22nd [1] 35/23                        monitoring [3] 16/18 83/2 83/13
    learn [1] 45/19                                March 9 [1] 16/19                           month [1] 46/22
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 93 of 97 93
                                                   nonforfeitable [1] 47/4                     outlined [1] 78/25
    M                                              North [2] 1/19 50/15                        outset [1] 39/16
    months [3] 19/3 34/9 50/15                     Northwest [1] 1/17                          outside [2] 45/14 51/13
    morning [1] 84/25                              Nos [1] 15/13                               over [8] 28/3 33/10 47/19 58/23 60/7 76/3
    most [3] 61/15 72/20 72/25                     notebook [6] 16/4 21/5 35/18 44/13 49/5     76/14 77/19
    move [6] 2/13 2/13 14/17 15/5 40/1 74/9        54/15                                       Overruled [1] 73/25
    moved [2] 58/19 58/25                          nothing [3] 30/4 68/4 84/14                 overseas [1] 80/11
    moving [1] 12/1                                notify [1] 25/25                            overwhelmed [1] 51/1
    Mr [130]                                       Notwithstanding [1] 47/5                    own [3] 11/21 21/16 69/17
    Mr. [133]                                      November [1] 52/14
    Mr. Anand [35]                                 number [14] 12/11 15/2 18/4 23/14 26/13     P
    Mr. Ashok [2] 76/6 79/13                       26/14 33/23 36/10 50/10 54/12 54/23 77/13  P.A [1] 1/21
    Mr. Fink [3] 13/22 13/25 14/1                  79/15 80/8                                 p.m [3] 63/15 63/15 85/6
    Mr. Gulati [7] 4/21 4/22 31/5 31/6 38/11       number 1 [1] 50/10                         package [5] 22/14 39/9 39/9 40/11 40/21
    47/21 49/2                                     numerous [2] 64/13 83/15                   page [23] 24/8 24/10 24/22 24/22 27/14 31/3
    Mr. Harmison [1] 42/1                                                                     32/5 32/6 35/19 38/16 40/13 46/13 52/8 53/5
    Mr. Hildebrandt [1] 75/16                    O                                            53/24 55/19 56/24 59/9 60/19 60/20 61/22
    Mr. Londoner [2] 12/17 12/23                 o'clock [2] 82/17 84/20                      65/11 65/19
    Mr. Nevdahl [3] 22/15 23/18 23/23            oath [4] 5/13 32/2 38/22 64/4                page 15 [1] 27/14
    Mr. Sharma [1] 81/7                          object [1] 66/9                              page 16 [1] 46/13
    Mr. Silvestre [2] 4/1 10/10                  objection [10] 13/14 15/9 15/10 15/12 40/3   page 2 [3] 24/8 60/19 60/20
    Mr. Singh [31]                                40/4 67/10 74/19 74/22 79/2                 page 22 [1] 53/5
    Mr. Singh's [3] 79/6 79/8 79/12              obligation [1] 47/6                          page 3 [2] 24/10 59/9
    Mr. Sodi [12] 25/18 26/8 26/11 26/12 26/14   obligations [2] 6/20 6/22                    page 337 [1] 38/16
    26/16 27/2 28/17 28/19 33/24 45/23 45/23     obstructed [1] 64/19                         page 344 [1] 32/5
    Mr. Stein [19] 4/2 8/8 8/24 12/21 14/20 15/1 obstruction [4] 6/7 6/12 7/5 67/15           page 345 [1] 32/6
    25/18 26/11 30/12 31/4 31/7 37/8 41/18 50/4  obtain [1] 30/19                             page 352 [1] 61/22
    50/21 57/2 63/3 66/14 82/14                  obtaining [1] 9/14                           page 370 [1] 56/24
    Mr. Stein's [1] 13/6                         occur [1] 33/24                              page 45 [1] 53/24
    Mr. Wilk [1] 23/23                           occurred [2] 14/6 14/8                       Page 72 [1] 65/19
    Mr. Woodbury [9] 31/13 31/14 31/15 31/20     October [6] 24/24 38/16 54/7 55/3 55/5       Page 73 [1] 65/11
    50/4 50/21 50/24 52/9 56/8                    55/16                                       pages [3] 24/7 24/13 46/14
    Mr.Stein [1] 33/23                           October 12th [1] 24/24                       paid [14] 18/9 18/24 19/6 19/8 29/9 35/10
    Ms. [18] 13/20 14/11 14/14 17/23 19/20 20/3  October 16th [1] 55/16                       37/22 47/20 53/13 72/18 72/23 84/7 84/8
    20/9 20/11 30/13 65/12 66/1 75/15 77/8       October 18th [1] 38/16                       84/11
    78/23 79/4 81/1 82/3 82/7                    October 4th [3] 54/7 55/3 55/5               Palm [3] 1/7 1/19 1/24
    Ms. Bunes [16] 13/20 14/11 14/14 17/23       off [4] 21/18 60/16 69/22 85/5               Pam [12] 13/10 13/11 13/16 25/23 28/22
    19/20 20/3 20/9 20/11 30/13 75/15 77/8       office [2] 4/16 71/20                        28/23 29/7 30/7 30/8 42/2 49/21 75/15
    78/23 79/4 81/1 82/3 82/7                    officer [2] 62/23 77/22                      Pam's [1] 30/5
    Ms. Nonaka [2] 65/12 66/1                    officers [1] 11/22                           Pamela [4] 12/21 25/21 28/22 29/4
    much [14] 9/21 10/23 15/23 18/16 19/4 24/12  Official [1] 1/23                            paragraph [14] 50/23 51/15 55/20 76/12
    24/16 24/18 34/14 37/20 37/21 48/15 51/6     officials [1] 4/11                           78/9 78/25 79/11 79/12 79/22 80/17 80/19
    53/21                                        offset [2] 47/20 48/8                        81/6 81/15 82/23
    Muhlendorf [2] 1/15 86/4                     okay [53]                                    paragraph 2 [1] 51/15
    Mumbai [2] 76/7 79/14                        old [1] 13/19                                paragraph 3 [2] 78/9 78/25
    myself [13] 12/21 12/23 16/16 17/19 18/4     onboard [1] 42/1                             paragraph 4 [4] 79/11 79/12 80/17 80/19
    20/3 24/1 25/18 33/24 37/16 72/4 77/8 77/10  once [3] 28/11 30/13 48/6                    paragraph 5 [1] 81/6
                                                 one [41]                                     paragraph 6 [1] 81/15
    N                                            only [8] 12/24 42/18 51/7 52/20 61/10 62/11 Paragraph 7 [1] 82/23
    name [34]                                     62/25 67/16                                 paragraphs [1] 75/25
    named [1] 71/13                              operate [1] 27/3                             paragraphs 1 [1] 75/25
    names [3] 2/15 3/14 44/3                     operated [1] 27/2                            parentheses [1] 81/7
    nature [4] 13/13 13/18 13/19 34/23           operations [2] 28/17 51/17                   partners [1] 84/11
    need [10] 15/17 29/11 35/8 46/18 60/7 66/20 opinions [1] 63/10                            parts [2] 64/23 64/23
    66/25 68/6 83/1 85/1                         opportunities [2] 65/14 66/5                 past [1] 27/6
    needed [1] 7/12                              opportunity [3] 81/16 82/23 84/8             patients' [1] 17/17
    negotiated [2] 23/13 62/17                   opposed [1] 68/1                             pay [9] 8/2 23/9 23/11 34/22 35/3 35/11
    net [1] 72/15                                option [6] 16/18 16/21 16/25 17/9 17/11 21/2 35/13 35/15 37/18
    Networks [5] 65/14 66/5 68/14 68/16 69/4     options [1] 17/3                             paying [1] 36/15
    Nevdahl [4] 22/15 23/18 23/23 71/5           order [19] 44/4 44/18 44/22 44/23 45/1 45/5 payment [1] 39/7
    never [3] 60/13 60/13 72/22                   48/10 48/11 48/13 53/20 54/7 54/19 55/7     payments [4] 37/19 39/1 39/4 41/8
    new [13] 1/17 11/11 12/22 12/24 13/2 13/21 55/7 55/20 55/24 56/10 56/18 60/9              penalty [1] 6/17
    19/24 20/2 20/9 20/17 20/21 27/7 83/13       orderly [1] 72/1                             Pending [1] 53/5
    Newport [1] 77/9                             orders [7] 43/20 43/24 44/3 44/6 48/6 53/6   people [12] 8/17 11/9 18/5 18/8 72/5 72/14
    next [9] 2/4 25/4 25/5 34/1 47/13 47/19 48/4 60/17                                        72/14 72/15 72/15 78/23 79/1 80/14
    53/16 60/2                                   organization [1] 54/8                        percent [1] 73/12
    nice [1] 84/21                               original [2] 20/10 22/12                     perfect [1] 17/4
    nine [1] 46/22                               originally [2] 10/13 22/7                    perform [3] 17/25 18/3 42/18
    no [103]                                     our [7] 16/21 22/12 27/6 52/12 63/24 78/8    performed [1] 37/8
    Nonaka [2] 65/12 66/1                         78/9                                        period [6] 18/16 28/15 34/12 40/18 46/22
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 94 of 97 94
                                                    78/11 78/13 83/2 83/16                         Recom's [1] 15/3
    P                                              product/sales [1] 78/11                         reconnection [2] 10/25 11/3
    period... [1] 53/22                            products [4] 34/12 42/22 43/9 80/16             record [8] 8/14 9/6 68/12 75/25 76/25 78/7
    perjury [1] 7/5                                project [3] 27/7 76/1 76/12                      85/5 86/19
    person [8] 17/20 61/15 62/4 62/5 62/8 62/25 proof [1] 56/4                                     recorded [2] 8/12 47/6
    77/22 80/25                                    proper [1] 66/10                                recordings [5] 8/8 8/10 8/20 8/24 39/17
    personally [1] 71/5                            prospective [3] 17/1 18/5 18/8                  redact [1] 74/9
    pertain [1] 67/1                               prospectively [1] 16/22                         reduce [3] 7/12 7/14 23/14
    pertaining [1] 67/8                            provisions [2] 64/13 64/14                      reduced [1] 23/15
    pharmaceutical [7] 78/14 79/16 79/21 80/5 public [15] 3/8 3/9 3/11 11/13 11/14 11/15           Reed [5] 22/21 23/1 24/3 69/10 71/3
    80/7 81/9 81/17                                 11/19 21/18 27/7 27/23 45/20 48/22 57/8        refer [1] 8/18
    pharmaceuticals [1] 81/11                       57/19 71/18                                    referral [2] 55/24 56/14
    phone [7] 5/5 5/8 22/12 57/12 60/6 76/14       pull [3] 15/22 49/4 54/15                       referring [1] 40/10
    77/19                                          pulled [1] 44/1                                 refers [1] 18/1
    phonetic [1] 79/25                             purchase [24] 43/20 43/24 44/3 44/4 44/6        reflecting [1] 36/3
    phony [3] 58/14 58/14 58/17                     44/18 44/22 44/23 45/1 45/5 48/5 48/10         regard [2] 82/8 82/10
    Piace [1] 41/21                                 48/11 48/13 53/5 53/20 54/7 54/10 54/19        regarding [12] 25/6 25/22 26/7 28/17 28/19
    Pickard [1] 49/25                               55/7 55/7 70/20 71/23 72/8                      29/5 32/12 43/25 62/14 71/25 72/1 80/9
    place [2] 59/6 76/2                            purchased [2] 21/21 24/6                        Registered [1] 86/17
    places [1] 59/5                                purchasing [1] 54/8                             reimbursement [1] 47/6
    plan [2] 76/9 78/12                            purpose [5] 8/15 14/13 41/24 50/13 80/4         reintroduced [3] 3/22 3/24 70/2
    platform [4] 78/14 81/20 82/25 83/3            purposes [1] 67/13                              relate [2] 12/9 16/20
    play [7] 32/4 32/4 38/15 39/14 39/21 56/23     pursuant [2] 51/17 71/24                        related [6] 5/25 22/3 24/15 36/17 68/7 69/9
    61/21                                          pushed [3] 45/10 58/21 60/10                    relates [1] 68/1
    played [6] 32/7 38/18 39/22 39/25 61/24 66/2 pushing [1] 45/12                                 relating [3] 17/21 26/1 42/8
    plea [9] 6/8 6/14 6/19 7/3 7/6 65/8 66/24 67/7 put [8] 4/22 12/11 12/12 17/4 32/25 33/4        relation [4] 4/10 6/8 9/23 32/2
    76/22                                           60/7 60/15                                     relationship [8] 19/21 27/4 27/24 28/3 30/15
    plead [3] 6/4 6/6 6/12                                                                          34/14 75/15 75/21
    please [34]                                    Q                                               relative [1] 17/1
    pled [2] 67/14 67/15                           QSB [1] 46/6                                    releases [1] 71/19
    plus [1] 18/18                                 quarter [7] 46/6 51/23 52/15 52/16 52/16        relevant [1] 67/17
    point [11] 13/2 14/23 17/10 17/11 20/5 20/6 52/17 52/18                                        remember [14] 10/17 20/3 52/20 54/12 59/3
    30/15 43/18 43/18 57/25 67/11                  question [10] 42/19 57/2 62/11 65/25 66/1        64/17 70/3 70/23 73/12 73/18 79/21 83/4
    Poly [1] 3/4                                    67/21 68/21 78/24 82/18 83/22                   83/5 84/19
    Pomona [1] 3/4                                 questioned [1] 65/12                            remembered [1] 50/12
    portion [1] 16/24                              questions [3] 61/10 63/3 67/25                  remote [2] 68/17 68/25
    positions [3] 78/20 78/22 78/25                quiet [1] 15/19                                 rep [2] 22/16 31/1
    possibility [1] 22/10                          quite [1] 39/14                                 repeat [2] 65/25 78/24
    possible [2] 49/22 73/17                                                                       replace [1] 13/20
    possibly [5] 12/14 15/3 18/5 28/9 73/11        R                                               report [1] 79/8
    potential [3] 8/17 20/19 81/7                  raise [2] 2/8 42/7                              reported [1] 79/4
    potentially [4] 16/21 26/15 26/20 83/20        Rajiv [6] 14/18 14/21 14/24 75/9 75/14 76/2     reporter [6] 1/23 1/23 4/19 47/10 86/17
    power [1] 22/15                                Rambaxi [2] 79/25 80/3                           86/18
    predicated [1] 83/24                           Raul [4] 3/23 10/5 10/7 69/25                   reporting [1] 57/19
    preexisting [2] 75/15 75/21                    reached [1] 18/4                                represent [2] 24/13 47/4
    preliminary [1] 83/10                          read [15] 16/24 29/3 46/21 47/16 49/16          representation [1] 27/10
    prepaid [3] 46/14 48/8 56/2                     51/15 51/16 52/10 53/7 54/5 55/23 75/25        representative [1] 12/25
    presence [1] 26/4                               78/7 81/6 81/15                                request [4] 68/24 69/9 75/5 75/6
    present [1] 12/16                              reading [1] 65/18                               require [1] 78/15
    presented [1] 45/4                             reads [2] 25/23 30/5                            required [1] 65/7
    president [1] 79/13                            ready [2] 8/4 63/17                             requires [1] 76/23
    press [1] 71/19                                real [4] 43/4 43/6 45/6 45/7                    research [2] 78/14 81/18
    Pretty [1] 9/22                                realize [1] 42/23                               residence [1] 76/4
    previously [1] 75/18                           really [5] 15/17 31/24 42/18 43/11 64/22        Resource [5] 65/14 66/5 68/13 68/16 69/4
    price [7] 22/11 23/13 23/14 23/15 54/21        Realtime [1] 86/18                              respect [1] 48/6
    70/22 70/23                                    reason [2] 48/19 72/7                           respond [3] 45/5 45/12 81/25
    print [1] 29/1                                 reasons [1] 72/13                               responded [1] 45/6
    prior [2] 11/7 53/7                            recall [20] 30/19 48/10 48/13 52/4 68/22 70/1   response [5] 49/11 82/4 82/6 82/7 82/10
    private [3] 21/22 23/4 24/15                    71/6 71/7 73/16 73/18 73/19 74/2 77/5 80/2     responsibilities [4] 65/15 66/6 72/5 79/8
    privileged [2] 49/11 55/16                      80/2 80/8 81/4 82/6 82/9 82/12                 responsibility [1] 72/7
    Pro [1] 1/18                                   receive [5] 20/16 28/1 28/4 34/1 48/7           restaurant [1] 42/7
    probably [2] 30/13 55/25                       received [13] 18/15 18/18 19/11 22/14 28/5      restricted [1] 21/2
    problems [1] 16/8                               28/10 33/2 33/2 33/5 45/22 48/5 54/7 62/25     result [3] 6/3 11/13 14/2
    proceed [2] 2/19 68/8                          recently [1] 73/9                               retail [1] 72/15
    proceedings [5] 1/11 63/16 64/1 66/13 86/19 recess [5] 63/14 63/15 82/15 84/24 85/6            return [1] 5/5
    proceeds [4] 18/25 19/1 19/13 54/9             recite [1] 79/24                                returned [2] 5/7 28/6
    produce [4] 75/9 76/22 76/23 77/3              recognize [4] 3/17 44/14 46/3 60/20             revenue [2] 42/9 42/23
    produced [10] 59/19 60/24 61/2 61/3 61/4       Recom [19] 3/18 10/8 10/9 10/14 10/21           revolving [1] 15/2
    74/25 75/5 75/8 75/11 76/21                     11/12 12/6 12/10 13/21 14/14 14/25 17/16       right [35]
    product [9] 15/3 17/16 26/15 45/9 76/11         20/7 20/15 27/5 69/25 70/6 70/18 72/3          rights [1] 54/10
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 95 of 97 95
                                                  SG [1] 31/16                                   speaking [3] 5/12 8/16 51/1
    R                                             shall [1] 17/5                                 specifically [1] 35/8
    Ritz [1] 76/5                                 shape [2] 48/25 82/8                           speculating [1] 77/13
    RMR [2] 1/23 86/24                            share [3] 22/16 33/16 34/17                    spell [2] 2/15 4/18
    Road [1] 1/21                                 shareholder [1] 13/9                           spelled [2] 2/16 4/20
    role [5] 13/6 20/12 50/1 67/1 80/5            shares [61]                                    spoke [7] 12/10 29/13 30/12 30/13 61/17
    rolling [1] 58/4                              Sharma [3] 76/6 79/13 81/7                      62/4 72/10
    rough [1] 37/21                               sheet [1] 47/7                                 spoken [2] 51/7 76/13
    roughly [3] 25/4 33/19 33/20                  ship [3] 42/22 43/8 43/11                      spoken/interfaced [1] 76/13
    Ruben [3] 45/13 45/15 45/16                   shipments [1] 43/19                            spotlight [1] 27/7
    run [1] 24/14                                 shipping [1] 43/1                              spring [2] 21/21 37/22
                                                  shop [1] 43/11                                 spring-summer [1] 37/22
    S                                             short [3] 50/14 50/19 63/6                     staff [1] 83/13
    S-a-m-e-e-r [1] 4/20                          should [4] 16/4 28/21 42/3 67/25               stands [1] 26/23
    sale [12] 21/22 23/4 24/6 39/2 48/17 48/20    shouldn't [1] 11/18                            Starbucks [1] 58/17
     52/20 53/10 53/14 55/11 57/3 63/1            show [3] 25/19 73/7 74/15                      start [4] 49/6 50/9 70/15 70/25
    sales [35]                                    shown [2] 44/18 73/3                           started [2] 10/3 69/22
    same [10] 3/18 14/9 18/7 23/1 40/20 54/23     shows [2] 34/8 84/9                            starting [4] 47/13 48/4 54/5 71/10
     60/3 60/16 67/20 81/2                        sic [2] 9/13 17/5                              Starts [1] 50/4
    Sameer [7] 4/17 4/18 5/4 5/9 27/20 27/21      sidebar [2] 66/13 68/10                        state [1] 2/24
     31/23                                        Siemens [1] 30/6                               stated [1] 42/22
    Sameer's [1] 31/21                            sign [2] 30/7 31/2                             statement [11] 35/22 35/25 40/17 48/1 48/22
    saw [3] 38/20 39/3 53/20                      signal [1] 78/15                                51/10 51/24 78/16 79/18 81/12 81/22
    say [9] 3/24 7/15 17/13 30/9 34/6 34/24       Signalife [108]                                statements [2] 65/8 82/1
     46/25 47/11 65/4                             Signalife's [8] 32/21 42/8 48/22 57/7 76/11    states [7] 1/1 1/3 1/13 2/5 29/6 64/12 85/2
    saying [12] 16/23 45/6 45/11 58/25 60/5 60/6 78/11 78/13 80/16                               stating [7] 58/12 58/18 60/8 60/16 78/20
     67/6 73/21 74/1 74/2 74/18 83/4              signature [7] 27/16 30/5 30/20 30/20 31/3       78/22 78/25
    says [8] 16/23 21/9 31/2 37/7 45/25 54/5 74/6 31/5 31/21                                     status [1] 81/25
     82/23                                        signed [3] 11/21 27/16 37/1                    STEIN [162]
    scan [2] 31/3 31/16                           significant [1] 77/20                          Stein's [9] 13/6 20/12 24/25 36/9 38/9 38/11
    scared [2] 57/22 57/23                        Silve [99]                                      45/16 59/10 59/22
    screen [3] 16/9 46/18 46/19                   Silvestre [6] 3/23 4/1 10/5 10/7 10/10 69/25   step [2] 4/24 63/13
    Se [1] 1/18                                   similar [3] 59/19 60/23 61/4                   Stephen [4] 1/23 86/17 86/23 86/24
    seated [3] 2/3 2/11 64/3                      since [2] 72/2 82/14                           Stieglitz [1] 1/15
    seats [1] 63/11                               Singh [36]                                     still [5] 22/1 22/1 22/1 64/4 72/22
    SEC [33]                                      Singh's [3] 79/6 79/8 79/12                    stipulate [1] 73/4
    second [11] 12/22 35/19 37/20 40/13 45/8      sir [7] 2/8 2/12 2/18 15/22 63/13 64/4 84/23   stipulated [1] 74/15
     49/20 51/12 52/8 52/16 55/7 55/19            sit [1] 65/9                                   stock [25] 9/14 10/13 18/15 18/24 18/25 19/6
    section [4] 46/14 53/5 54/1 54/3              sitting [1] 9/25                                19/8 21/3 22/4 22/5 22/6 22/8 22/15 24/6
    securities [8] 4/12 4/14 4/16 5/2 5/12 6/3    six [1] 30/12                                   36/16 36/17 38/3 38/4 39/3 41/6 72/1 72/11
     51/13 74/25                                  size [2] 29/25 65/1                             72/12 72/16 72/18
    seeing [3] 73/18 74/2 82/6                    slowly [1] 47/10                               Stop [1] 29/8
    seen [3] 73/8 73/9 73/17                      smaller [4] 55/7 55/20 55/24 56/10             straight [1] 84/19
    sell [5] 19/12 19/14 22/9 34/12 34/15         Sodi [16] 25/13 25/18 26/5 26/8 26/11 26/12    straighten [1] 29/10
    selling [6] 15/3 16/22 18/6 28/14 45/9 70/22   26/14 26/16 27/2 28/17 28/19 30/3 33/24       strategy [3] 76/8 80/6 83/6
    send [18] 19/12 22/17 23/18 23/19 31/15        45/23 45/23 84/12                             strategy-based [1] 76/8
     34/2 38/7 44/5 49/18 50/4 58/18 59/21 62/20 sold [9] 17/12 23/12 23/12 28/13 34/13 42/18    Street [1] 1/24
     62/22 73/14 73/24 74/1 83/1                   72/19 72/22 73/1                              stress [1] 30/8
    sending [2] 62/19 73/19                       somebody [2] 9/6 44/5                          strong [1] 81/16
    sense [2] 43/13 45/10                         somehow [3] 10/10 45/20 55/10                  structure [1] 29/13
    sent [7] 23/20 58/25 59/23 60/15 61/6 82/2    someone [2] 10/5 34/1                          subject [7] 16/16 25/22 30/4 30/25 30/25
     82/3                                         something [8] 14/6 44/2 58/12 68/1 68/4 68/6    49/10 55/16
    sentence [5] 7/14 7/18 7/22 46/21 78/6         68/6 75/4                                     submit [1] 44/6
    sentences [1] 51/16                           sometime [5] 19/23 21/25 32/25 60/3 60/5       submitted [1] 8/3
    September [8] 46/8 46/9 46/23 48/4 48/5       sometimes [2] 29/11 33/24                      subsequent [6] 10/14 24/25 42/19 51/21
     52/14 53/11 53/16                            somewhere [3] 19/5 23/19 58/17                  53/25 54/4
    September 14th [1] 53/11                      sorry [1] 65/21                                substance [1] 8/6
    September 2007 [1] 52/14                      sort [9] 3/6 6/17 9/11 17/20 18/3 25/4 29/16   such [2] 53/14 58/20
    September 24 [1] 53/16                         40/7 47/24                                    sufficient [1] 47/19
    September 30th [5] 46/8 46/9 46/23 48/4       sorts [1] 10/25                                suggested [6] 15/1 26/15 42/14 44/1 67/20
     48/5                                         sound [2] 43/5 43/15                            80/13
    series [1] 20/2                               sounded [1] 43/5                               Suite [1] 1/21
    services [4] 17/25 18/3 22/5 37/8             source [5] 24/5 24/20 36/14 38/1 41/4          summary [1] 3/5
    SES [2] 69/6 69/7                             South [1] 50/16                                summer [4] 14/17 21/21 37/22 41/17
    set [11] 20/19 21/14 21/15 68/18 68/23 68/24 SOUTHERN [1] 1/1                                support [3] 50/13 72/4 72/15
     69/14 69/17 83/1 83/2 83/13                  space [2] 81/18 82/25                          supports [1] 50/12
    setting [1] 20/24                             span [1] 33/18                                 supposed [2] 28/20 56/2
    seven [3] 19/3 30/12 61/17                    spark [1] 41/15                                sure [2] 67/12 73/12
    several [2] 50/15 77/11                       speak [10] 2/14 7/13 8/17 8/19 14/7 15/18      suspicion [1] 41/15
    SFranklinUSDC [1] 1/25                         33/6 33/23 47/10 55/4                         sustains [1] 67/10
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 96 of 97 96
                                                   thought [3] 16/10 17/3 60/10                   under [23] 5/13 6/19 7/6 17/25 18/9 19/4
    S                                              thousand [5] 22/11 22/17 23/16 24/2 37/24      21/3 23/13 26/16 27/2 27/25 32/1 38/22
    sworn [1] 2/10                                 three [8] 20/8 24/13 33/17 33/18 33/18 34/8    41/13 53/24 64/4 65/7 71/23 72/8 72/24
    synergies [1] 76/10                             47/19 77/11                                   76/22 77/25 78/19
    system [1] 56/3                                threshold [1] 41/10                            understand [5] 13/6 16/8 35/1 67/6 68/9
    Systems [2] 70/1 70/6                          through [22] 3/22 9/10 16/9 18/23 24/7         understanding [13] 6/11 8/25 9/5 13/22 19/9
                                                    24/14 35/7 35/23 46/10 51/1 64/22 65/14       24/16 31/4 36/6 41/14 43/3 49/12 49/23 79/5
    T                                               66/5 66/15 67/8 67/19 69/22 69/23 69/25       understands [2] 29/16 40/15
    take [12] 4/24 34/22 34/24 35/2 35/9 36/13      72/4 78/2 84/19                               understood [8] 20/12 20/14 23/4 33/22 41/24
     38/1 44/2 63/6 63/8 63/21 76/2                Throughout [3] 61/11 76/1 76/12                78/1 78/5 78/22
    taken [4] 1/11 63/15 65/12 85/6                thrown [1] 7/4                                 undertook [1] 23/5
    taking [2] 35/4 37/22                          THS [7] 23/8 23/20 24/3 24/4 24/8 24/16        unequivocally [1] 73/21
    talk [10] 5/3 9/7 13/10 28/20 28/21 28/22       25/1                                          unit [3] 34/13 34/16 42/18
     29/10 29/23 47/16 85/1                        Thus [1] 50/24                                 UNITED [6] 1/1 1/3 1/13 2/5 64/12 85/2
    talked [4] 53/17 56/17 62/19 80/4              timeframe [2] 4/8 70/13                        units [8] 17/12 17/13 17/13 17/14 45/2 45/2
    talking [17] 3/17 10/3 14/10 17/6 21/7 22/1 times [11] 12/11 30/12 33/23 51/7 52/19           54/9 54/20
     23/2 24/12 26/1 28/19 29/8 49/24 54/23         61/17 72/11 76/2 76/13 76/14 76/25            units-worth [1] 45/2
     58/16 72/23 77/18 77/18                       today [9] 7/8 7/16 25/24 46/11 53/8 65/9       until [1] 33/9
    talks [2] 45/1 53/10                            66/25 76/15 84/14                             update [2] 75/9 81/25
    tape [3] 9/6 39/17 76/25                       together [4] 33/1 33/4 60/7 60/15              upon [5] 15/5 41/3 52/12 78/8 78/9
    tape-record [2] 9/6 76/25                      told [13] 5/9 13/8 26/12 40/10 41/25 42/11     us [9] 2/14 2/15 15/18 28/21 34/2 45/10
    tapes [2] 8/19 8/22                             42/16 45/23 47/24 52/19 57/13 59/17 67/24     57/14 79/24 80/23
    task [1] 47/8                                  tomorrow [3] 74/10 84/18 84/24                 used [3] 22/21 27/20 38/1
    tax [1] 7/24                                   too [3] 4/18 46/19 84/5                        using [1] 21/16
    taxes [1] 8/2                                  top [4] 49/6 73/10 73/22 74/5                  usually [2] 62/12 76/3
    team [3] 53/14 82/24 83/1                      topic [1] 8/5
    Technologies [3] 18/24 18/24 78/2              total [2] 19/5 46/24                           V
    technology [3] 8/16 15/2 83/12                 towards [2] 2/14 15/22                         value [1] 71/7
    tell [23] 2/14 3/5 5/7 5/17 6/23 7/1 8/22 11/3 Tracey [2] 22/7 22/7                           valued [1] 46/24
     11/6 12/19 18/14 20/1 21/24 31/9 31/20 34/3 Tracy [1] 34/7                                   values [1] 41/10
     41/14 57/10 60/2 61/8 61/15 62/8 65/8         Trade [1] 36/24                                various [3] 3/9 79/15 81/10
    telling [2] 16/19 62/6                         train [1] 58/4                                 venture [1] 83/9
    tells [2] 62/4 62/11                           transaction [3] 24/23 24/25 37/17              very [6] 8/15 15/18 35/6 39/16 63/6 81/16
    term [2] 39/6 50/19                            transactions [1] 11/19                         vested [1] 47/4
    terminated [3] 13/20 13/23 14/4                transcript [4] 1/10 65/1 65/11 86/19           via [3] 22/14 76/14 77/19
    terms [6] 6/14 6/19 7/6 17/25 18/9 50/14       transfer [3] 22/18 23/1 36/4                   view [2] 29/12 30/15
    test [1] 78/13                                 transferred [1] 71/5                           viewing [1] 16/8
    testified [8] 5/17 32/1 32/13 38/22 46/11      transfers [4] 34/23 35/11 39/2 41/13           violated [2] 8/25 66/24
     64/20 66/17 70/21                             treadmills [1] 84/10                           Virginia [2] 76/5 76/5
    testify [2] 5/13 53/8                          TRIAL [1] 1/11                                 visited [1] 83/25
    testifying [1] 7/8                             trip [3] 20/17 51/19 51/20                     voice [5] 8/12 8/13 39/19 40/20 66/2
    testimony [14] 1/10 6/13 63/14 64/23 66/10 Tronics [3] 3/17 27/5 72/3                         voice-mail [3] 8/12 8/13 40/20
     66/25 67/23 70/1 70/13 70/23 79/9 80/18       trouble [1] 11/9
     84/24 86/3                                    true [24] 37/13 38/22 46/1 46/1 48/1 51/9
                                                                                                  W
    testing [6] 76/10 80/11 80/16 81/10 81/18       51/24 52/23 56/8 57/4 57/16 64/23 65/9 71/3   waffle [1] 83/21
     83/17                                          71/23 75/3 75/12 75/13 79/18 81/12 81/22      Wait [1] 70/17
    Texas [4] 44/5 44/5 44/6 45/8                   83/6 83/18 83/20                              waiting [1] 45/14
    thank [13] 2/18 15/23 29/15 63/10 63/11        trust [8] 23/8 23/20 24/3 24/4 24/8 24/16      walk [1] 43/17
     64/7 68/9 82/13 84/15 84/16 84/18 84/21        25/1 70/20                                    want [15] 11/10 14/23 21/16 27/6 27/23
     84/25                                         truth [5] 5/17 6/23 7/1 62/6 62/8              33/16 45/11 45/13 47/13 49/6 50/8 53/5 54/3
    thanks [2] 31/3 31/21                          truthful [5] 32/13 65/4 65/24 66/25 78/16      67/8 72/12
    that's [27] 21/11 32/6 33/7 34/11 36/4 41/16 truthfully [1] 65/7                              wanted [5] 8/17 21/18 37/17 39/6 80/15
     44/14 45/24 45/25 47/9 51/11 52/21 53/17      try [2] 15/17 68/8                             warehouse [10] 42/14 42/20 42/23 43/1 43/7
     57/16 57/17 60/12 68/7 68/21 69/21 70/2       trying [3] 8/18 22/1 82/17                     43/8 43/9 43/10 43/20 43/25
     70/3 70/8 71/15 73/21 75/24 80/17 80/19       tune [1] 38/13                                 Washington [1] 1/17
    there's [6] 22/5 30/25 46/14 52/8 55/20 62/12 turn [3] 29/14 40/13 46/13                      wasn't [8] 11/24 22/2 22/8 59/20 77/6 77/19
    They'll [1] 15/11                              twice [1] 30/13                                83/18 84/6
    they're [2] 8/3 47/6                           two [9] 12/20 22/12 23/13 24/13 44/3 46/14     waves [1] 17/17
    thing [9] 5/21 29/20 45/6 45/8 47/13 47/24      47/19 62/12 76/12                             ways [1] 42/8
     51/12 52/9 60/16                              two-dollar [1] 23/13                           we'd [1] 40/1
    things [12] 5/21 5/22 5/25 5/25 15/2 34/23     type [2] 47/22 52/5                            we'll [4] 47/16 68/8 84/20 84/24
     60/6 72/2 72/10 72/16 80/13 83/24             types [1] 8/10                                 we're [19] 3/17 4/6 9/25 16/6 23/2 26/1 32/4
    think [16] 10/3 14/7 15/18 15/19 19/6 19/21 typical [2] 29/17 30/10                           33/6 35/18 35/20 37/19 38/15 40/16 41/16
     22/25 33/6 34/18 35/10 39/13 45/1 46/13                                                      61/21 67/19 68/12 82/16 84/19
     67/11 67/25 73/16                             U                                              we've [5] 15/4 26/17 38/6 53/17 62/19
    third [3] 52/9 52/16 78/6                      U.S [2] 1/16 79/16                             week [3] 30/13 56/3 84/20
    those [27] 6/3 7/15 8/19 8/20 8/22 15/9 18/7 U.S. [1] 81/9                                    weeks [2] 33/18 33/19
     18/21 22/17 23/22 24/15 33/21 33/25 34/24     U.S.-based [1] 81/9                            Welcome [2] 2/2 64/2
     35/17 38/4 39/19 52/22 52/23 64/14 64/19      UBS [1] 24/1                                   well [31]
     76/15 77/3 77/20 78/22 80/14 84/13            ultimately [4] 5/12 7/18 20/23 23/9            went [6] 19/3 20/9 20/17 66/14 68/3 70/23
Case 9:11-cr-80205-KAM Document 202 Entered on FLSD Docket 05/16/2013 Page 97 of 97 97
                                                    65/16 66/7 73/21 77/18 80/17 82/14
    W                                              you've [5] 3/6 7/24 10/1 67/13 72/2
    weren't [2] 57/14 57/16                        yourself [3] 26/8 28/18 30/7
    West [3] 1/7 1/19 1/24
    Weston [1] 25/13
    what's [12] 3/3 9/5 24/23 33/21 37/2 37/6
    40/25 54/21 55/2 68/3 73/7 74/15
    whatsoever [2] 29/7 55/6
    whenever [2] 39/8 62/11
    where [18] 2/24 5/15 10/17 10/19 12/16
    22/10 23/7 23/12 41/20 43/7 43/9 43/10
    50/23 54/5 65/18 71/15 71/24 76/15
    whether [11] 8/25 25/24 28/19 42/25 43/3
    65/8 66/24 69/1 72/4 72/14 75/20
    while [1] 34/17
    White [2] 1/20 1/21
    who's [2] 7/18 12/4
    whole [2] 24/14 34/14
    whose [4] 26/25 27/19 50/25 66/2
    why [36]
    Why'd [1] 37/15
    Wilk [1] 23/23
    willing [1] 22/8
    wire [3] 24/2 24/8 39/1
    wired [1] 24/16
    wires [2] 24/15 37/20
    wiring [1] 24/4
    withdrawal [1] 41/1
    withdrawals [1] 41/13
    within [9] 79/9 81/8 81/11 81/16 81/18 82/25
    83/12 83/15 83/16
    without [4] 15/11 40/4 74/10 74/22
    witness [5] 2/4 2/10 63/24 66/15 66/17
    woman [1] 66/1
    won't [1] 73/4
    Woodbury [13] 31/11 31/13 31/14 31/15
    31/20 49/9 50/4 50/21 50/24 52/9 55/15 56/8
    56/21
    wording [1] 61/3
    words [1] 34/24
    work [14] 4/7 4/25 20/24 31/6 52/5 52/12
    52/23 65/14 66/5 68/18 68/19 68/20 68/25
    69/1
    worked [5] 69/23 71/13 75/18 78/23 84/12
    working [9] 9/18 17/1 18/17 18/22 21/25
    25/2 26/12 45/9 58/1
    works [2] 79/15 83/24
    world [1] 60/7
    worth [2] 45/2 72/15
    wouldn't [2] 41/15 45/10
    writes [4] 50/24 51/8 56/7 56/20
    writing [1] 83/5
    written [2] 37/6 37/11
    wrong [2] 19/22 81/5
    wrote [4] 38/20 38/21 79/19 83/18
    Y
    Yeah [5] 31/6 41/15 45/22 68/24 73/4
    year [2] 13/14 81/4
    years [4] 3/7 26/13 47/19 70/3
    years' [1] 6/18
    yes [189]
    yesterday [2] 66/15 67/20
    yet [2] 39/14 72/18
    York [9] 1/17 12/22 12/24 13/2 19/24 20/2
    20/9 20/17 20/21
    Yossi [2] 59/4 60/25
    you'd [1] 49/4
    you'll [5] 3/17 58/22 60/13 60/13 60/19
    you're [12] 14/7 21/7 63/20 64/4 64/13 64/16
